                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                   BID PROTEST


AMAZON WEB SERVICES, INC.,
                                                          Case No. - - - - - - - - -
                 Plaintiff,
                                                          Judge
      v.

UNITED STATES OF AMERICA,
by and through the U.S. Department of Defense,

                 Defendant.                                REDACTED VERSION



                                     -COMPLAINT

           Amazon Web Services, Inc. ("A WS") protests the decision of the U.S. Department of

 Defense ("DoD'') to award the Joint Enterprise Defense Infrastructure ("JEDI") Contract,

 Solicitation No. HQ0034-l 8-R-0077 ("RFP"), to Microsoft Corporation ("Microsoft"). 1

           Throughout the JEDI procurement process, based on A WS' s depth of experience, superior

technology, and proven record of success in handling the most sensitive government data, A WS

 was the consensus frontrunner to aid DoD in this important modernization effort. Yet when the

time came to make the award, DoD chose Microsoft. Any meaningful review of that decision

 reveals egregious errors on nearly every evaluation factor, from ignoring the unique strengths of

 AWS's proposal, to overlooking clear failures in Microsoft's proposal to meet JEDI's technical




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      The Defendant has represented that DoD will not proceed with performance of the JEDI
      Contract beyond initial preparatory activities until at least February 11, 2020. Accordingly,
      AWS and Defendant have agreed that a temporary restraining order and preliminary injunction
      are not necessary at this time. A WS reserves the right to move for such immediate injunctive
      relief if DoD decides to proceed with performance in advance of this Court's resolution of
      AWS's protest.
requirements, to deviating altogether from DoD's own evaluation criteria to give a false sense of

parity between the two offerors. These fundamental errors alone require reversal.

       These errors, however, were not merely the result of arbitrary and capricious decision-

making. They were the result of improper pressure from President Donald J. Trump, who launched

repeated public and behind-the-scenes attacks to steer the JEDI Contract away from AWS to harm

his perceived political enemy-Jeffrey P. Bezos, founder and CEO of AWS's parent company,

Amazon.com, Inc. ("Amazon"), and owner of the Washington Post. DoD's substantial and

pervasive errors are hard to understand and impossible to assess separate and apart from the

President's repeatedly expressed determination to, in the words of the President himself, "screw

Amazon." Basic justice requires reevaluation of proposals and a new award decision. The stakes

are high. The question is whether the President of the United States should be allowed to use the

budget of DoD to pursue his own personal and political ends.

I.     INTRODUCTION

       1.      On dispassionate review of the technical merits alone, bedrock government

procurement principles require overturning the award of the JEDI Contract to Microsoft. In

granting that award, DoD committed numerous and compounding prejudicial errors, glossing over

wide gaps between A WS's market-segment-leading cloud solution and Microsoft's offering,

completely ignoring critical aspects of A WS's technical proposal, and overlooking key failures by

Microsoft to comply with the RFP's stated requirements. These errors pervaded nearly every

evaluation factor.

       2.      In a particularly egregious example that is plainly contrary to the factual record,

DoD concluded under Factor 3 (Tactical Edge) that



                                                                                           . DoD

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compounded this error by

                                         , while allowing Microsoft

                                              -to escape DoD's scrutiny as to Factor 3 entirely.

Further exacerbating this fatal e1rnr, DoD also failed to recognize the proven benefits of A WS's

Snowball Edge device, which is already in active use in the field today (including on the battlefield

               ) by numerous DoD organizations,




       3.      Similarly, under Factor 6 (Management and Task Order ("TO") 001), DoD

arbitrarily evaluated an outdated, superseded version of AWS's proposal. The full impact of this

highly prejudicial error is difficult to calculate.




                          The evaluation documents identify numerous other instances where DoD

also ignored the plain language of A WS's proposal. When confronted with this fact in A WS's

debriefing questions, however, DoD declined to explain its conclusions, stating simply-despite

the contrary evidence in the evaluation materials-that DoD evaluated the correct version of

A WS' s proposal.

       4.      Moreover, DoD arbitrarily and wrongly concluded that




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                                                           DoD also erroneously concluded that

                                                    despite the fact that AW



                                                    was and still is the only contractor that has a

proven approach for managing, developing, and deploying classified and unclassified cloud

infrastructure and platforms at the scale contemplated by JEDI.

       5.      Under Factor 2 (Logical Isolation and Secure Data Transfer), DoD fundamentally

misunderstood AWS's cloud solution.       In particular, DoD arbitrarily omitted from its final

evaluation-without explanation-previously assessed strengths, such as for A WS's virtual

networking functionality, cryptographic protections, marketplace offerings, CloudFormation

service, and network design and implementation. DoD also deviated from the RFP by failing to

meaningfully consider offerors' proposed hypervisors, a foundational security and operational

control element and an area where A WS has clearly distinguished itself from Microsoft through

its novel Nitro architecture. Further, DoD failed to recognize other beneficial aspects of A WS's

proposal

while also



       6.      Under Factor 4 (Information Security and Access Controls), DoD again deviated

from the RFP's criteria by failing to consider offerors' capabilities with respect to isolation,

patching, access control configuration, data and resource tagging, and token-based and time-

limited federated authentication.   Specifically, DoD failed to recognize that A WS's Nitro

architecture provides improved infonnation security to DoD users. DoD also overlooked A WS's

robust access control capabilities, which include role- and attribute-based access controls, the



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ability to tag resources and objects for various functions, and the ability to leverage token-based

authentication.

       7.         Under Factor 5 (Application and Data Hosting and P011ability), DoD irrationally

concluded that the                     -    unique third-party marketplace offerings included in

A WS 's proposal would not be available at the time of award. In fact, AWS's proposal makes clear

the contnuy is t m e - - - are available at award in the unclassified marketplace,

with many of these offerings also available at award in the classified marketplace.         DoD's

unfounded and incorrect conclusion is particularly egregious given that A WS operates the largest

cloud software marketplace in the world, and is the only cloud service provider with a classified

cloud software marketplace. DoD also ru:bitrarily omitted from its fmal evaluation-again without

explanation-previously assessed strengths,

                                                                          . And DoD overlooked

other strengths (such as AWS's Content Delivei:y Network Points of Presence,

. , its advanced graphics-processing unit and high-memory compute instance types, and its

machine leamiugla11ificial intelligence and managed database capabilities) when conducting its

final evaluation of AWS 's proposal.

       8.         Under Factor 8 (Demonstration), DoD again deviated from the RFP by failing to

consider the extent to which AWS successfully demonstrated its technical approach for Factors 1

through 6. Specifically, DoD failed to acknowledge the numerous instances in which AWS's

demonstrated capabilities vastly exceeded performance requirements-while ignoring instances

where Microsoft necessarily failed to demonstrate its solution met the technical requirements of

the JEDI SOO.




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       9.      In committing the foregoing evaluation errors-and many others-DoD failed to

meet its minimum obligation to apply the RFP's stated evaluation criteria reasonably, consistently,

and in a fair and equal manner among all offerors. This arbitrary and capricious evaluation created

a false parity between the two competitors' technical capabilities, notwithstanding A WS's depth

of experience, superior technology, and record of success in handling the most sensitive

government data at hyperscale data centers dedicated to serving                                and

DoD.

       10.     Despite the clear factual record establishing AWS's technical superiority over

Microsoft-including broad consensus among industry analysts and experts who assessed A WS

as the clear frontrunner for the JEDI Contract-DoD did not accurately assess AWS's technical

superiority regarding essentially every meaningful aspect of DoD's requirements. As a result,

DoD created the illusion that

                                      Even viewed in isolation from all of the other foregoing

defects, however, AWS's more relevant and highly successful experience managing -

                                                     , combined with DoD's obvious errors when

evaluating AWS's proposal under Factor 6, underscore the thin veneer DoD artificially and

improperly used to distinguish Microsoft's offering.

       11.     DoD further compounded its errors through its targeted efforts to drive up A WS's

pnce

                                                                                 . Under ordinary

government contracting principles, these fundamental errors, alone, which combined to skew

improperly the best-value determination in Microsoft's favor, require termination of the JEDI

Contract and a reevaluation of the proposals.



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          12.   But in this extraordinary case, another, more fundamental defect also demands

reevaluation of the award: the intervention of President Trump, Commander in Chief of the U.S.

Military and head of the Executive Branch, in the JEDI procurement and award. This intervention

destroyed the requisite impartial discharge of the government procurement process, making it

impossible for DoD to meet its minimum obligation to apply the RFP's stated evaluation criteria

reasonably, consistently, and in a fair and equal manner among all offerors. President Trump's

intervention casts the errors discussed above in an even harsher light and puts the very integrity of

the government procurement process in question.

          13.   The government procurement process-through which hundreds of billions of

taxpayer dollars are awarded each year to provide essential government services, including to our

nation's military-demands objective and even-handed administration based on facts and fair

comparisons, not personal animus and undue influence. In this case, the President made it widely

known to everyone-including on publicly broadcast television and through his prolific tweets-

that DoD should not award the JEDI Contract to AWS. The blatant, inexplicable errors in DoD's

award to Microsoft make plain that President Trump's message had its intended and predictable

effect.

          14.   The publicly available record of President Trump's statements and actions

demonstrates that he repeatedly attacked and vilified his perceived political enemy-Mr. Bezos,

the founder and CEO of AWS's parent company, Amazon, and who separately owns the

Washington Post-and then intervened in this procurement process to thwart the fair

administration of DoD' s procurement of technology and services critical to the modernization of

the U.S. military.




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         15.    President Trump has made no secret of his personal dislike for Mr. Bezos, Amazon,

and the Washington Post, or of his express desire to harm them. The seeds of this animus originate

with the Washington Post's coverage of him before he even was elected President. That coverage

placed Mr. Bezos, Amazon, and the Washington Post directly in the crosshairs of President

Trump's wrath.

         16.    For example, in February 2016, then-candidate Trump made this promise during a

campaign rally about what would happen to Amazon if he was elected President: "[B]elieve me,

if I become president, oh do they have problems. They're going to have such problems." A few

months later, he repeated this sentiment, accusing Amazon of "getting away with murder,"

and "rigg[ing]" the system, and proclaiming that Mr. Bezos uses the Washington Post "as a tool

for political power against [him]" while declaring "[w]e can't let him get away with it."

         17.    After he assumed office, President Trump grew "obsessed" with Mr. Bezos and

determined to "fl'** with him." 2 His new powers expanded his ability to punish Mr. Bezos for the

Washington Post's coverage of him.

         18.    Since the JEDI procurement was announced, the President has reaffirmed his

hostility towards Amazon and, as even the public record strongly suggests, has used his office to

prevent A WS from winning the JEDI Contract. These efforts range from his own public statements

and tweets to pronouncements from the highest levels of power within his Administration. They

have been on full display for the whole country to see, including the members of the TEB, the

Source Selection Evaluation Board ("SSEB"), the Source Selection Advisory Committee



 2
     Gabriel Sherman, ''Trump Is Like, 'How Can I F-k With Him?'": Trump's War With Amazon
     (And The Washington Post) Is Personal, Vanity Fair (April 2, 2018),
     https://www.vanityfair.com/news/2018/04/trump-war-with-amazon-and-the-washington-
     post-is-personal.

                                                8
("SSAC"), and the Source Selection Authority ("SSA"), all of whom serve under President

Trump's command.

       19.    For example, following months of scathing tweets about Mr. Bezos and Amazon in

the summer of2018 (a time when industry analysts widely reported AWS to be best qualified to

win the JEDI Contract), the Commander in Chief directed his then-Secretary of Defense James

Mattis to "screw Amazon" out of the contract, as recounted in a book published by Secretary

Mattis's former chief speechwriter and Pentagon insider.

       20.     Similarly, during a press conference held on July 18, 2019, President Trump

claimed that he had been getting "tremendous complaints about the contract with the Pentagon and

with Amazon," and that he had heard "complaining from different companies, like Microsoft and

Oracle and IBM." He then declared that he personally "will be asking [DoD] to look at it very

closely to see what's going on." That same day, President Trump's eldest son, Donald Trump, Jr.,

alleged in a tweet that Mr. Bezos and Amazon had engaged in "shady and potentially corrupt

practices," and he ominously predicted that it "may come back to bite them" with respect to JEDI.

President Trump doubled down on these statements on July 22, 2019, when he tweeted television

coverage decrying the JEDI Contract as the "Bezos bailout." Each of these messages came while

DoD was evaluating the JEDI proposals and it would have been virtually impossible for anyone

involved in JEDI to ignore them.

       21.    President Trump's attacks were relentless, and he resorted to increasingly

aggressive tactics to carry out his apparent personal goal of preventing Mr. Bezos and A WS from

receiving the JED I Contract.   In early August 2019, President Trump-in an unprecedented

move-intervened directly in the very final phases of the two-year procurement process. President

Trump directed his newly appointed Secretary of Defense, Mark Esper (who replaced Secretary



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Mattis after President Trump claimed to have "essentially fired" Mattis following repeated clashes

with the President's leadership), to conduct an "independent" examination. President Trump's

improper direct intervention, its upending of the procurement, and the President's personal goal of

preventing A WS from receiving the JEDI Contract were widely reported at the time: "The White

House reportedly directed the Department of Defense to review a $10 billion cloud contract

because it would probably go to Amazon." 3

        22.     As President Trump's tweets against Mr. Bezos, Amazon, the Washington Post,

and the JEDI bid process piled up, DoD took numerous actions to systematically remove the

advantages of AWS's technological and experiential superiority and artificially level the playing

field between A WS and its competitors, including Microsoft.

        23.     For example, in mid-2018, DoD refused to evaluate past performance-which only

A WS possessed with regard to a contract remotely comparable to the size and complexity of

JEDI-contrary to the applicable requirements of FAR Subparts 12.206 and 15.304. This was an

unusual decision, given the JEDI Contract's significant national security implications and the fact




 3
     Matt Weinberger, The White House Reportedly Directed the Department of Defense to Review
     a $10 Billion Cloud Contract Because It Would Probably Go to Amazon, Business Insider
     (Aug. 1, 2019), https://www.businessinsider.my/sec-of-defense-to-look-into- l 0-billion-jedi-
     contract-2019-8/; see also, e.g., Rosalie Chen, President Donald Trump Reportedly Wants to
     'Scuttle' the $10 Billion Pentagon Cloud Contract that Amazon and Microsoft are Fighting
     Over, Business Insider (July 26, 2019), https://www.businessinsider.com/trump-jedi-cloud-
     contract-amazon-microsoft-oracle-2019-7; Ari Levy, Trump Says He's Looking into a
     Pentagon Cloud Contract for Amazon or Microsoft Because 'We 're Getting Tremendous
     Complaints,' CNBC (July 18, 2019), https://www.cnbc.com/2019/07/18/trump-says-
     seriously-looking-into-amazons-pentagon-contract.html; Jim Osman, Why Amazon Could Be
     Trumped        in      Its     JEDI     Mission,      Forbes     (June      7,     2019),
     https ://www .forbes.com/sites/j imosman/2019/06/07/amazon-j edi-trump-microsoft-walmart-
     oracle-tech/#7b7c359a3 l fl; Idrees Ali & Nandita Rose, Pentagon Puts $10 Billion JEDI
     Contract on Hold After Trump Suggests It Favored Amazon, Reuters (Aug. 1. 2019),
     https://www.reuters.com/articie/us-amazon-com-jedi/pentagon-puts-lO-billion-jedi-contract-
     on-hold-after-trump-suggests-it-favored-amazon-idUSKCN 1URSUA.

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that the FAR explicitly states past performance "should be an important element of every

evaluation and contract award for commercial items."

       24.     Further, in the spring of 2019, DoD required AWS to make various changes to its

technical proposal that forced AWS                                           . For example, RFP

Amendment 0005 in May 2019 required offerors

- - e v e n though DoD's technical evaluators had previously confirmed AWS's proposed

solution was "realistic and feasible"

- · Amendment 0005 also created a new and artificial limitation on technical solutions,

without any justification, by requiring offerors to                                           in the

Price Scenarios.



driving up AWS's total evaluated price b y - - a - increase over AWS's initial

total evaluated price. And at the eleventh hour-months after DoD completed its evaluation of

AWS' s initial proposal, and after the conclusion of all scheduled discussions-DoD changed its

interpretation of the RFP's classified infrastructure requirements, effectively rejecting AWS's

long-standing plan to utilize existing data centers already certified for classified use and instead

requiring A WS to build new dedicated classified infrastructure for DoD. There was no technical

basis for this change-which could only impact A WS as the only cloud provider with existing

classified infrastructure-and it resulted in an additional -              increase to AWS's total

evaluated price. These and other late-breaking DoD-directed changes-all of which arose after

DoD's discussions with offerors and focused disproportionately on A WS's unique capabilities-

were unnecessary from a technical and overall mission perspective and increased A WS' s total




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evaluated price

                           and arbitrarily leveling the playing field.

        25.       In addition to these overt changes, DoD evaluators applied a watered-down, "check

the box" analysis for many factors-ignoring A WS's numerous technical advantages despite

evaluation criteria requiring a comparative analysis in connection with the best value

determination-to conclude both offerings were "good enough."             Under this approach, the

evaluators ignored numerous features that make A WS objectively superior to Microsoft from

technical, security, and risk perspectives. These features include A WS's more advanced cloud

and security architecture and its demonstrated and accredited ability-unlike any other

competitor-to manage Secret and Top Secret classified information, something AWS has been

doing                                          since 2013.

        26.    The SSAC further skewed the analysis in favor of Microsoft. The SSEB-which

consists of individuals responsible for considering the TEB's input, further evaluating offerors'

technical proposals, and providing recommendations to the SSAC-concluded that AWS's core

cloud security architecture is "extraordinary" and explicitly recognized the positive impact A WS 's

technical approach would have on the security of DoD's most critical information. Yet in the

midst of the President's campaign against A WS, the SSAC issued a written and comparative

analysis that disregarded the SSEB's conclusion entirely. Compounding that gross omission, the

SSAC proffered a pretextual reason for disregarding the SSEB's conclusion:




                             . It also is inconsistent with previous concerns raised by DoD, and in


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particular the Defense Information Systems Agency (DISA), the agency that is responsible for

providing information technology (IT) and communications support across DoD. For example, in

June of 2019, A WS participated in a technical exchange meeting with representatives from DISA,

the Do D's Chieflnformation Officer's ("CIO") Office (the office responsible for all aspects of the

JEDI program), and the U.S. Navy

- · This meeting included a tabletop exercise designed by DISA

                                                . Further, the SSAC's conclusion t h a t -




                         unreasonably ignores that AWS's Nitro architecture also reduces the risks

associated with each of these issues, as well as insider threats, data exfiltration/theft, and many

other infrastructure vulnerabilities.

        27.     These shifts in the DoD evaluators' assessments of A WS's proposal, including the

significance of A WS's security advantages, occurred as President Trump increased the intensity

of his public attacks against Mr. Bezos, Amazon/A WS, and the Washington Post. Additionally,

as discussed in more detail below, there are numerous similar examples in the ultimate award

where the SSAC inexplicably disregarded critical evaluation criteria or mischaracterized A WS's

offering in order to give the false appearance of technical parity between A WS and Microsoft.

        28.     Although DoD is afforded significant discretion in evaluating proposals, it is

required to wield that discretion within the bounds of the RFP and applicable law and regulation.

Indeed, even one prejudicial error in DoD's process would require reevaluation of the JEDI

proposals and the issuance of a new award decision. What is most remarkable here is that-

consistent with the expressed desires of its Commander in Chief--DoD consistently and



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repeatedly made prejudicial errors, at every step along the way, that systematically favored

Microsoft and harmed A WS-e1Tors that grew in magnitude at each stage, and that mirrored the

increasing tactics from President Trump to thwart the award of the contract to A WS. The most

plausible inference from these facts is simply this: under escalating and overt pressure from

President Trump, DoD departed from the rules of procurement and complied-consciously or

subconsciously-with its Commander in Chief's expressed desire to reject A WS's superior bid.

Even ifDoD were somehow immune from this presidential pressure-plainly, it is not-the many

e1Tors in its evaluation of A WS's proposal alone nonetheless warrant reversal of the award decision

and re-evaluation of the proposals.

       29.     As a result, on October 17, 2019 (after President Trump directed Secretary Esper

to "look ... very closely" at the JEDI procurement), DoD set aside the concrete evidence that A WS

was the technically superior provider, and instead executed a "Source Selection Decision

Document" ("SSDD") that declared Microsoft the awardee of the JEDI Contract.

       30.     A few days later, on October 22, 2019, with the public unaware that DoD had

already awarded the JEDI Contract to Microsoft, Secretary Esper-having already called for his

Department to conduct a careful review of the JEDI process-announced that he was recusing

himself from the JEDI source selection review in another unprecedented and bizaITe attempt to

rewrite the factual record and unsully a process tainted by the President's intervention. DoD's

stated basis for Secretary Esper's recusal-"his adult son's employment with one of the original

contract applicants [i.e., IBM]"-was questionable: not only had Secretary Esper's son been

employed by IBM for more than six months before the recusal, but DoD had already eliminated

IBM as a contender since April 2019, when it announced that only AWS and Microsoft were the

remaining candidates for the JEDI award.



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       31.     On October 25, 2019, to the extreme surprise of the overwhelming majority of

industry experts and analysts, DoD announced publicly the decision it had made a week earlier

(before Secretary Esper's recusal), that it had awarded the JEDI Contract to Microsoft.

       32.     At every step in the process, this procurement has been highly unusual. Agencies

are prohibited from reinterpreting their evaluation criteria to create false parity among the offerors,

ignoring categorical differences between offerors, and making patent errors that mischaracterize

one offeror's solution to the benefit of another. In this procurement, however, those highly unusual

steps-which alone demand re-evaluation-occurred in a truly extraordinary context: Throughout

the final year of the multi-year award process, the President of the United States and Commander

in Chief of our military used his power to "screw Amazon" out of the JEDI Contract as part of his

highly public personal vendetta against Mr. Bezos, Amazon, and the Washington Post. Rarely, if

ever, has a President engaged in such a blatant and sustained effort to direct the outcome of a

government procurement-let alone because of personal animus and political objectives. Our laws

reject this unfair influence and bias into the government procurement process, and this Court

should not sanction such behavior or its intended result in this case.

       33.     Irrespective of any artificial steps the Administration might have taken to sterilize

the record, it was impossible to shield DoD from the bias exhibited and undue influence exerted

by President Trump and others. That improper and unlawful intervention contributed directly to

an arbitrary and capricious award that is contrary to procurement law and contrary to the interests

of our national security. As a result, the award must be terminated, and DoD must reevaluate the

proposals fairly and free of any direct or indirect improper influence.

II.    JURISDICTION

        34.    This Court has jurisdiction over this post-award protest pursuant to 28 U.S.C.

§ 1491(b)(l), which provides that the Court of Federal Claims "shall have jurisdiction to render
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judgment on an action by an interested party objecting to ... a proposed award or the award of a

contract or any alleged violation of statute or regulation in connection with a procurement or a

proposed procurement. [T]he United States Court of Federal Claims ... shall have jurisdiction to

entertain such an action without regard to whether suit is instituted before or after the contract is

awarded."

       35.     AWS is an interested party to pursue this protest because it was an actual offeror

for the JEDI Contract and, but for DoD's erroneous and flawed evaluation process, including

improper influence by President Trump and DoD officials working at his direction, A WS would

have received the contract award. See 28 U.S.C. § 1491(b)(l).

III.   PARTIES

       36.     Plaintiff is A WS, a subsidiary of Amazon. A WS is the leading provider of scalable

cloud computing services to individuals, companies, and governments. A WS is located at 410

Terry Avenue North, Seattle, WA 98109.

       37.     Defendant is the United States of America, acting by and through DoD.

IV.    FACTUAL ALLEGATIONS

       A.      DoD's Cloud Modernization Initiative

       38.     The Executive, and specifically DoD, is charged with making the best possible

decisions to ensure the safety and security of our nation, and that the taxpayer dollars appropriated

by Congress are being responsibly spent free from political influence or ulterior motives. Article

I, Section 9, Clause 7 of the U.S. Constitution grants the power of the purse to Congress, which

then appropriates funds for the Executive to spend through its inherent power to contract. Article

II, Section 1 of the U.S. Constitution "vest[s]" the "executive Power" in the "President of the

United States." Congress has defined and bounded the Executive's authority to spend appropriated



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funds through a detailed set of procurement laws and regulations to ensure the fair, efficient, and

transparent use of public funds. See, e.g., 41 U.S.C. §§ 3101 et seq.; 48 C.F.R. §§ 1.000 et seq.

        39.     In an environment fraught with increasingly sophisticated technological threats

from our nation's adversaries, it is critical that our military leaders and intelligence community

have access to the most advanced technological capabilities to enable them to make mission

critical, data-driven decisions. Over the past several years, DoD has sought to modernize its

information technology infrastructure to ensure it remains the most capable, nimble, and secure

defense institution in the world. As part of this modernization initiative, in September 2017, DoD

announced the JEDI program, DoD's plan to upgrade and consolidate its cloud computing

infrastructure across the Department, which would enable DoD to employ "emerging technologies

to meet warfighter needs" and maintain "our military's technological advantage." 4

        40.     "Cloud computing" refers to a shared pool of configurable computing resources

(e.g., networks, servers, storage, applications, and services) that can be rapidly provisioned and

released with minimal management effort or service provider interaction. Cloud computing is an

alternative to traditional "on-premises" information technology resources, which require users to

plan, procure, manage, and maintain physical computing resources (i.e., servers). DoD launched

its search for a cloud solution that could meet its stringent requirements, including handling

complex management of unclassified, Secret, and Top Secret information, and supporting

advanced data-analytic capabilities like machine learning and artificial intelligence. 5




 4
     Accelerating     Enterprise  Cloud     Adoption,       Nextgov      (Sept.           13,   2017),
     https ://www.nextgov.com/media/gbc/docs/pdfs _ edit/0905 l 8cloud2ng.pdf.
 5
     Draft         DOD        JEDI         Cloud       RFP        (Mar.              7,         2018),
     https://beta.sam.gov/opp/8e l 323cb7a001 b0eb3d35b5f8480fd35/view.

                                                 17
           41.   Over the next several months, DoD invited the public, including industry and

technological leaders, to provide input on the JEDI RFP. Through this process, DoD enhanced the

industry's understanding of DoD's needs and "afford[ed] industry an opportunity to offer

comments or pose questions regarding any element" of the RFP. 6 After reviewing more than 1,500

questions and comments in response to multiple drafts of the RFP, DoD finalized the JEDI RFP

on July 26, 2018. 7

           B.    The Evaluation Criteria

           42.   The RFP required DoD to award the JEDI Contract to the offeror whose proposal

represents the best value to the Government based on an evaluation of the following nine factors:

                 Factor 1:   Gate Evaluation Criteria
                 Factor 2:   Logical Isolation and Secure Data Transfer
                 Factor 3:   Tactical Edge
                 Factor 4:   Information Security and Access Controls
                 Factor 5:   Application and Data Hosting and Portability
                 Factor 6:   Management and Task Order ("TO") 001
                 Factor 7:   Small Business Participation Approach
                 Factor 8:   Demonstration
                 Factor 9:   Price

RFP at 93-99. 8
           43.   The RFP specified DoD's evaluation would proceed in phases. Id. at 92. First, in

Phase One, DoD was to evaluate each offeror pursuant to Factor 1, Gate Evaluation Criteria. Id.

The purpose of the Gate Evaluation Criteria was to, among other things, ensure that the JEDI

Cloud: (1) is capable of providing the full scope of services even under surge capacity during a




 6   Id.
 7
     JEDI Cloud Synopsis/Solicitation (July               26,   2018),      https://beta.sam.gov/opp/
     7al 7a56421e2d84e53c8ee6f7209ef8f/view.
 8
     Unless stated otherwise, citations to the RFP refer to the RFP conformed through Amendment
     0006.

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major conflict or natural disaster event; (2) experiences ongoing innovation and development and

capability advancements for the full potential period of performance; (3) provides continuity of

services for DoD users around the world; and (4) takes advantage of the critical functionality

provided by modem cloud computing providers to generate new systems easily using a

combination of Infrastructure as a Service and Platform as a Service offerings as well as offerings

provided through the vendor's online marketplace. Oracle Am., Inc. v. United States, 144 Fed. Cl.

88, 100-01 (2019). This factor would determine if the offeror was eligible for award. RFP at 92.

The RFP provided DoD would not evaluate further any offeror who received a rating of

"Unacceptable" under any of the Gate Criteria subfactors. Id

       44.     Second, for those offerors who cleared Phase One, DoD was to proceed with

evaluating proposals under Factors 2-6 and 9. Id. at 93. Based on this evaluation, and in

connection with Phase Two, DoD was to make a competitive range determination. Id. Offerors

within the competitive range were to submit for evaluation a Small Business Subcontracting Plan

and a proposal volume responsive to Factor 7, and to participate in a cloud solution demonstration

under Factor 8. Id. Offerors within the competitive range were also to be invited to engage in

discussions with DoD. Id. The RFP stated DoD would eliminate from the competition any offeror

who received a "Marginal" or "Unacceptable" rating for Technical Capability, or a Risk rating of

"High," under Factor 8. Id.

       45.     Upon the completion of discussions, DoD was to request an FPR from each offeror

remaining in the competition, and then evaluate FPRs under Factors 2-7 and 9 of the RFP. Id.

               a.     When evaluating Factors 2-7, DoD was to consider, in addition to the RFP's

specific evaluation criteria, the degree to which each offeror' s proposed approach was consistent




                                                19
with the offeror's proposed Performance Work Statement ("PWS"), which would be referenced in

and incorporated into the JEDI Contract. Id. at 94.

               b.         DoD was also to ensure that offerors' proposals reflected an understanding

of the Government's requirements in Sections 3 and 5 of the Statement of Objectives ("SOO"),

which was also incorporated into the RFP. Id. In addition, the RFP stated DoD would "evaluate

the degree to which any proposed desired capabilities from Section 4 of the JEDI Cloud SOO

provide additional benefit to the Government as defined by the evaluation criteria under the

respective Factor." Id.

               c.         The RFP specified the Agency would deem offerors' FPRs to include the

already conducted Factor 8 demonstration. Id. at 93.

               d.         Furthermore, Attachment L-2 to the RFP included six Price Scenarios that

DoD was to use to evaluate both technical and price factors. Id. at 98. When evaluating these

Price Scenarios under the non-price factors, DoD was to focus on the degree to which the offeror's

technical approach is feasible in light of JEDI requirements. Id. at 94-98.

       46.     The Government ranked the importance of Factors 2-8 as follows (from most to

least important): Factor 2 (Logical Isolation and Secure Data Transfer), Factor 3 (Tactical Edge),

Factor 4 (Information Security and Access Controls), Factor 5 (Application and Data Hosting and

Portability), Factor 8 (Demonstration), Factor 6 (Management and TO 00 I), and Factor 7 (Small

Business Participation Approach). Id. at 92. Factors 2-8, when combined, were more important

than Factor 9 (Price). Id. However, Factor 9 was to become increasingly important where offerors'

proposals were essentially equal in terms of technical capability, or where an offeror's price was

so significantly high as to diminish the value of the technical superiority to the Government. Id.




                                                  20
        47.        For Factors 2-6 and 8, DoD was to assign technical and risk adjectival ratings in

accordance with the following criteria:

 Technical Rating                                        Description
Outstanding              Proposal meets requirements and indicates an exceptional approach and
                         understanding of the requirements. The proposal contains multiple
                         strengths and no deficiencies.
Good                     Proposal meets requirements and indicates a thorough approach and
                         understanding of the requil-emeuts. Proposal contains at least one strength
                         and no deficiencies.
Acceptable               Proposal meets requirements and indicates an adequate approach and
                         understanding of the requirements.   Proposal has no strengths or
                         deficiencies.
Marginal                 Proposal does not clearly meet requirements and has not demonstrated an
                         adequate approach and understanding of the requirements.
Unacceptable             Proposal does not meet requirements and contains one or more deficiencies
                         and is unawardable.



    Risk Rating                                          Description
Low                      Proposal may contain weakness(es) which have little potential to cause
                         dismption of schedule, increased cost or degradation of perfonnance.
                         Nonna} contractor effort and nonnal Govenuneut monitoring will likely be
                         able to overcome any difficulties.
Moderate                 Proposal contains a significant weakness or combination of weaknesses
                         which may potentially cause disruption of schedule, increased cost or
                         degradation of perfomiance. Special contractor emphasis and close
                         Government monitoring will likely be able to overcome difficulties.
High                     Proposal contains a significant weakness or combination of weaknesses
                         which is likely to cause significant dismption of schedule, increased cost or
                         degradation of perfo1mance. Is unlikely to overcome the difficulties, even
                         with special contractor emphasis and close Government monitoring.
Unacceptable             Proposal contains a material failure or a combination of significant
                         weaknesses that increases the risk of unsuccessful performance to an
                         unacceptable level.

Id. at 100---01.

        48.        The RFP identified different criteria for adjectival ratings under Factor 7:

                                                    21
 Adjectival Rating                                    Description
 Outstanding          Proposal indicates an exceptional approach and understanding of the small
                      business objectives.
 Good                 Proposal indicates a thorough approach and understanding of the small
                      business objectives.
 Acceptable           Proposal indicates an adequate approach and understanding of small
                      business objectives.
 Marginal             Proposal has not demonstrated an adequate approach and understanding of
                      the small business objectives.
 Unacceptable         Proposal does not meet small business objectives.

Id.
                               Factor 1: Gate Evaluation Criteria

        49.     The RFP stated DoD would evaluate proposals to determine technical acceptabili1Y

under each of seven Gate Evaluation Criteria subfactors: (1) Elastic Usage; (2) High Availabili1Y

and Failover; (3) Commerciali1Y; (4) Offering Independence; (5) Automation; (6) Commercial

Cloud Offering Marketplace: and (7) Data. Id. at 93-94.

        50.     DoD determined that both A WS and Microsoft were technically acceptable under

these subfactors and therefore included both offerors i11 its competitive range.

                     Factor 2: Logical lsolatio11 and Secure Data Tra11sfer

        51.     Under Factor 2, the RFP required DoD to evaluate each offeror's proposed

approach to logical isolation and secure data transfer. Id. at 94. "Logical isolation" refers to the

mechanisms used to ensure that no cloud user can access the data of any other cloud user without

permission. This function is primarily controlled by a "bypervisor"-i.e., a systelll that controls

and secures multiple, disparate cloud user environments running on the same physical machine.

In short, Factor 2 evaluates how well the offerol'S' respective hypervisors function. See RFP at

82-83. The Factor 2 evaluation had two main considerations: (1) offerors' proposed Transfer



                                                 22
Cross Domain Solution; and (2) offerors' proposed logical isolation architecture and

implementation, to include the implementation and configuration of the hypervisor. Id at 82, 94.

       52.     In conducting this evaluation, DoD was to assess:

               a.       The "quality of the Offeror's proposed approach to achieving secure data

transfer using a Transfer Cross Domain Solution that is consistent with the 2018 Raise the Bar

Cross Domain Solution Design and Implementation Requirements," and "the degree to which the

proposed Transfer Cross Domain Solution will address [the requirements] in Section L, Factor

2(l)(a-h)," id at 94;

               b.       The "quality of the Offeror's proposed logical isolation architecture and

implementation for the classified and unclassified offerings and the degree to which the proposed

solution will meet the requirements in Section L, Factor 2(2)(a-h)," id;

               c.       The "quality of the Offeror' s proposed approach to meeting the

requirements for classified processing at different classification levels in accordance with section

1.3.2 in Attachment 2 [to the RFP]: Cyber Security Plan," id.; and

               d.       For Price Scenario 3, "the degree to which the technical approach and

Unpriced [Basis of Estimate ('BOE')] evidence a technically feasible approach when considering

the secure data transfer requirements in Section L for this Factor and the specific scenario

requirements in Attachment L-2," and "the degree to which the technical approach and Unpriced

BOE for Price Scenario 3 and the Offeror's overall secure data transfer approach under this Factor

are consistent across the documents," id.

                                     Factor 3: Tactical Edge

       53.     Under Factor 3, the RFP required DoD to evaluate the tactical edge devices offerors

proposed under Section L, Factor 3(l)(a-h), to determine "how well the proposed approach



                                                23
balances portability against capability to enhance warfighting capacity across the range of military

operations in support of national defense." Id at 95. The "tactical edge" refers to operational

environments with limited communications connectivity and limited storage availability-e.g.,

combat zones where military personnel have limited ability to connect to the cloud and must take

a portable device with them. In addition, DoD was to evaluate "the degree to which the proposed

tactical edge devices address the requirements in Section L, Factor 3(1 )(a-g) while also accounting

for the practicalities of using the proposed offerings in the tactical edge environment." Id. The

RFP explained that DoD prefers a solution that more broadly addresses the full range of military

operations, rather than a solution that only addresses a subset of military operations. Id. It also

stated DoD would place "far greater emphasis on existing solutions that meet all of the

requirements in Attachment L-1, JEDI Cloud S00." Id.

       54.     The RFP contained further evaluation criteria depending on whether tactical edge

devices fell within Category One (durable, ruggedized, and portable compute and storage) or

Category Two (static, modular, rapidly deployable data centers). Id. at 84--85, 91, 95. Offerors

were required to submit at least one tactical edge device in each category, and were encouraged to

propose devices to satisfy the "full range of military operations." Id. at 84-85.

               a.      For Category One devices, DoD was to evaluate the degree to which each

offeror's proposed approach addresses the requirements in Section L, Factor 3(2)(a)(i-viii). Id at

95. In addition, for Factor 3(2)(ix), DoD was to evaluate how well the devices balance the power

requirements and physical dimensions in delivering capability within the range of military

operations to forces deployed in support of a Geographic Combatant Commander or applicable

training exercises.   Id.   Further, DoD was to evaluate how well proposed devices balance




                                                 24
portability with capability to enhance warfighting capacity across the range of military operations

in support of national defense. Id. at 84.

               b.      For Category Two devices, DoD was to evaluate the degree to which each

offeror's proposed approach addresses the requirements in Section L, Factor 3(2)(b)(i). Id. at 95.

In addition, for Factor 3(2)(b)(ii), DoD was to evaluate how well the proposed approach for

Category Two devices balance power requirements and physical dimensions in delivering

capability across the range of military operations. Id.

               c.      Unclassified tactical edge devices from Category One had to be in

production by January 11, 2019, while unclassified modular data centers from Category Two had

to be in production by the first day of the post-award kickoff event. Id. The RFP explained DoD

would "consider additional tactical edge capabilities that will be in production by January 19,

2020, but with lesser weight than existing solutions that meet the requirements in Attachment L-

l, JEDI Cloud SOO." Id.

       55.     Finally, the RFP stated DoD would evaluate Price Scenarios 2, 3, and 5 under

Factor 3 as follows:

               [T]he Government will evaluate the degree to which the technical
               approach and Unpriced BOEs evidence a technically feasible
               approach when considering the requirements for this Factor and the
               specific scenario requirements in Attachment L-2; the Government
               will also consider the degree to which the technical approach and
               Unpriced BOE for Price Scenarios 2, 3, and 5, respectively, and the
               Offeror' s overall tactical edge approach are consistent across the
               documents.

Id.

                       Factor 4: Information Security and Access Controls

       56.     Under Factor 4, DoD was to evaluate the quality of an offeror's proposed approach

to information security and access controls. Id. at 95-96.


                                                 25
        57.     With regard to the proposed information security approach, the RFP required DoD

to evaluate the degree to which the proposed solution met the requirements in Section L, Factor

4(1)(a-h), based on the following criteria:

               a.      The frequency, accuracy, efficacy, and degree of automation of patching

and vulnerability management of hardware, software, and other system components, and the

degree to which patching enforcement can be controlled based on vulnerability criticality, id. at

95;

               b.      The quality of supply chain risk management for hardware, software, and

other system components, id.;

                c.     The degree to which the physical location and logical isolation of hosted

services is discoverable and auditable, id.;

                d.     The degree to which breach identification is automated, and the efficacy of

processes for mitigation, isolation, and reporting, id.;

                e.     The degree to which tools and automation can prevent and remediate data

spills, including the efficacy of the process for locating and erasing all related data and purging all

related media, id.;

                f.     The degree to which the offeror is able to erase data in any environment,

id.;

                g.     The degree to which data generated by all intrusion detection technology,

network traffic analysis tools, or any other threat detection performed is captured; the efficacy of

analysis on the data generated; the degree to which users can control the manner in which

notifications are communicated, and the breadth of configuration options for alerts generated by




                                                  26
threat detection systems; and whether the offeror provides the ability to deliver raw logs to the

Government for analysis, id at 96; and ,

               h.      The efficacy and quality of the process for onboarding new services into the

offeror's marketplace in a rapid and secure manner, and the degree to which the offeror is able to

add offerings rapidly and securely to the marketplace in the examples provided, id.

       58.     With regard to the proposed access control approach, DoD was to evaluate the

degree to which the proposed solution met the requirements in Section L, Factor 4(2)(a-e), based

on the following criteria:

               a.      The range of functionality for creating, applying, and managing technical

policies for one workspace and across all JEDI Cloud workspaces, id.;

               b.      The degree of granularity of the permissions available, and the ease of

discovery and assignment to roles, id.;

               c.      The efficacy of the capability to tag data objects and resources for billing

tracking, access control, and assignment of technical policy, id.;

               d.      The range of capability, ease of implementation, and use of modern

standards for federated, token-based, time-limited authentication and role assumptions, id.; and

               e.      The degree to which the offeror has implemented modern standards for any

Application Programming Interfaces ("API") and Command Line Interference ("CLI") access and

the degree to which these AP Is or CLis, if any, match or exceed the abilities of the offeror's web

interfaces for user, account, workspace, identity, and access management, id.




                                                 27
                       Factor 5: Application and Data Hosting and Portability

       59.        Under Factor 5, DoD was to evaluate each offeror's proposed approach to

application and data hosting, as well as its proposed approach to application and data portability.

Id.

       60.        The application and data hosting assessment was to focus on "the quality of the

Offeror's proposed solution and the degree to which it met the requirements in Section L, Factor

5(1)(a-e)." Id.

       61.        The application and data portability evaluation was to focus on the requirements of

Section L, Factor 5(2)(a-b) and the following criteria:

                  a.     Time to execute, time to extraction, ease of use, efficacy of the mechanisms,

and format interoperability when exporting all data and object storage and associated schemas for

each workspace scenario, id.; and

                  b.     Time to execute, time to extraction, ease of use, format interoperability of

data when exporting system configurations, including, but not limited to, networking, routing, load

balancing, and operating system configuration for each workspace scenario, id.

       62.        The RFP also stated DoD would evaluate Price Scenarios 1, 4, and 6 under Factor 5.

Id.

                  a.     For Price Scenarios 1 and 6, DoD was to evaluate:

                  the degree to which the technical approach and Unpriced BOE
                  evidence a technically feasible approach when considering the
                  application and data hosting requirements in Section L for this
                  Factor and the specific scenario requirements in Attachment L-2; the
                  Government will also consider the degree to which the technical
                  approach and Unpriced BOE for Price Scenario 1 and Price Scenario
                  6, respectively, and the Offeror's overall application and data
                  hosting approach are consistent across the documents.

Id.


                                                  28
                b.      For Price Scenario 4, DoD was to evaluate:

                the degree to which the technical approach and Unpriced BOE
                evidence a technically feasible approach when considering the
                portability requirements in Section L for this Factor and the specific
                scenario requirements in Attachment L-2; the Government will also
                consider the degree to which the technical approach and Unpriced
                BOE for Price Scenario 4 and the Offeror's overall application and
                data portability approach under this Factor are consistent across the
                documents.

Id. at 96-97.

                            Factor 6: Management and Task Order 001

        63.     Under Factor 6, the RFP required DoD to evaluate the extent to which each

offeror's proposal evidences an effective program management approach to accomplishing the

requirements detailed in RFP Section C2 and the TO 001 PWS. Id. at 97.

        64.     This evaluation was to include an assessment of:

                a.      The likelihood that the approach will achieve effective and timely

communication between the offeror and the Cloud Computing Program Office, id.;

                b.      The quality of the offeror's proposed process for timely remediation of

issues and the likelihood that issues will be timely remediated, id.;

                c.      The quality of the offeror's proposed risk management process and the

likelihood that the proposed process and methods will result in preemptive mitigation for risk areas

like tactical edge performance and security, id.;

                d.      The likelihood that the proposed Quality Assurance Surveillance Plan will

result in continuously meeting the performance metrics listed in Table 5.1 of the SOO through the

life of the contract, id.; and

                e.      The extent to which the proposed property management system, plan, and

commercial practices and standards are likely to result in protecting, securing, and reporting the


                                                    29
identified Government Furnished Property m accordance with FAR 52.245-1 and OFARS

252.211-7007, id.

                       Factor 7: Small Business Participation Approach

         65.   Under Factor 7, the RFP provided DoD would evaluate the extent to which each

offeror's proposal complied with the requirements for small business subcontract participation.

Id.

                                     Factor 8: Demonstration

         66.   Under Factor 8, DoD was to evaluate "the extent to which the scenarios are

successfully demonstrated using the proposed approach for Factors 1 through 6." Id. DoD was to

provide 24-hour notice of the specific scenarios to be demonstrated for evaluation purposes. Id.

at 87.    DoD scheduled the first demonstration for April 23, 2019.          However, because of

Government-caused      errors   in   the   first   demonstration-including   providing   defective

instructions-DoD scheduled a second demonstration for May 9, 2019. DoD stated the second

demonstration would "be given more weight in light of it reflecting each Offeror' s ability to best

showcase their offerings." Id. at 97.

                                           Factor 9: Price

         67.   Under Factor 9, the RFP required DoD to evaluate proposed prices in accordance

with FAR Subpart 12.209. Id.

         68.   DoD was to evaluate offerors' Price Volumes for accuracy and completeness,

including verifying that figures are correctly calculated and that proposed prices, and any

applicable discounts, premiums, or fees, are accurate across the entire Price Volume. Id. at 98.

         69.   For each of the six price scenarios, offerors were to submit a Priced and Unpriced

BOE, and a price build-up for each of the price scenarios. Id. at 88. The RFP stated DoD was to



                                                   30
evaluate the Unpriced BOEs for each price scenario under Factors 2 tbrnugh 5, as specified above,

rather than under Factor 9. Id. at 98.

       70.     For TO 001, DoD was to detennine if each offeror's price is fair and reasonable,

complete, and accurate. Id.

       71.     The RFP provided the following Table M-1 to indicate how DoD would calculate

a proposal's total evaluated price:

       Price Component                                                           Total Price
    Price Scenario I Total                                                    As proposed
    Proposed Price
    Price Scenario 2 Total                                                    As proposed
    Proposed
    Price Scenario 3 Total                                                    As proposed
    Proposed
    Price Scenario 4 Total                                                    As proposed
    Proposed
    Price Scenaiio 5 Total                                                    As proposed
    Proposed
    Price Scenario 6 Total                                                    As proposed
    Proposed
    Poliability Plan, CLIN    4 units (assuming 2 units are   As proposed 4 Units X Unit
    0005                      ordered per year for the Base               Price= Total
                              Ordering Period for purposes of             Price
                              TEP only)
    Poliability Plan, CLIN    6 units (assuming 2 units are      As proposed 6 Units X Unit
    1005                      ordered per year for the Option                Price = Total
                              1 Ordering Period for purposes                 Price
                              of TEP only)
    Portability Plan, CLIN    6 units (assuming 2 units are      As proposed 6 Units X Unit
    2005                      ordered per year for the Option                Price= Total
                              2 Ordering Period for purposes                 Price
                              of TEP only)
    Portability Plan, CLIN     4 tmits (assuming 2 units are     As proposed 4 Units X Unit
    3005                       ordered per year for the Option               Price= Total
                                                                             Price


                                                31
                             3 Ordering Period for purposes
                             of TEP only)
    Portability Test, CLIN   4 units (assuming 2 units are   As proposed 4 Units X Unit
    0006                     ordered per year for the Base               Price = Total
                             Ordering Period for purposes of             Price
                             TEP only)
    Portability Test, CLIN   6 units (assuming 2 units are     As proposed 6 Units X Unit
    1006                     ordered per year for the Option               Price= Total
                             1 Ordering Period for purposes                Price
                             of TEP only)
    Portability Test, CUN    6 units (assuming 2 units are     As proposed    6 Units X Unit
    2006                     ordered per year for the Option                  Price= Total
                             2 Ordering Period for purposes                   Price
                             of TEP only)
    Portability Test, CLIN   4 units (assuming 2 units are     As proposed 4 Units X Unit
    3006                     ordered per year for the Option               Price= Total
                             3 Ordering Period for purposes                Price
                             of TEP only)
    CCPO Program             24 units (assuming all months   As proposed 24 Units X Unit
    Management Support,      are ordered for purposes of TEP             Price= Total
    CLIN 0007                only)                                       Price
    CCPO Program             36 units (assuming all months   As proposed 36 Units X Unit
    Management Support,      are ordered for purposes of TEP             Price= Total
    CUN 1007                 only)                                       Price
    CCPO Program             36 units (assuming all months   As proposed 36 Units X Unit
    Management Support,      are ordered for purposes of TEP             Price= Total
    CUN 2007                 only)                                       Price
    CCPO Program             24 units (assuming all months   As proposed 24 Units X Unit
    Management Support,      are ordered for purposes of TEP             Price = Total
    CUN 3007                 only)                                       Price
    TEP                                                                       Summation of
                                                                              all Total Prices

Id. at 98-99.

       C.       A WS's Superior Cloud Computing Services Made It Uniquely Qualified to
                Meet the Needs of the JEDI Program

       72.      A WS is a leading provider of cloud-computing services, with a proven record of

success in fulfilling the most complex and demanding specifications, including hosting classified

                                               32
government workloads. Hundreds of thousands of the world's leading companies, governments,

and institutions in 190 countries use A WS to manage their computing infrastructure and

technology needs, so that they can instead focus their resources and efforts on their core missions.

        73.        A WS's superiority is readily apparent from a fair consideration of the factors

identified by the Government. At a high level, the product-related factors can be grouped into

three categories: technical and security capabilities (Factors 2, 4, 5), ability to deploy in war zones

(Factor 3), and proven ability to make the product actually work (Factors 6, 8).

              i.          Technical and Security (Factors 2, 4, 5)

        74.        On the technical and security factors, A WS's technology is objectively superior to

that of its competitors, including Microsoft. A WS extended its technological superiority in 2017,

when it released its Nitro architecture.         Nitro, the culmination of years of research and

development, represents a fundamental improvement in the design of"hypervisors"-systems that

control and secure multiple, disparate cloud user environments running on the same physical

machine-and other core technologies that allow A WS to create, manage, and secure scalable

virtual machines within cloud environments. Nitro's technological advantages underlie AWS's

JEDI offering, providing DoD a faster, more efficient, and, most importantly, more secure

computing environment.

        75.        No competitor-including Microsoft-has core technology that matches Nitro, as

evident by the fact that all other cloud solutions available to DoD use traditional software-based

hypervisors that are general-purpose in nature and contain multiple design tradeoffs to benefit

general use over security. This is further illustrated in the National Institute of Standards and

Technology National Vulnerability Database, which has documented numerous Common

Vulnerabilities and Exposures entries for Microsoft's Hyper-V hypervisor over the last three



                                                   33
years. 9 Thus, no competitor-including Microsoft-can match AWS's security, speed, and

efficiency metrics.

        76.    Security: A WS developed its Nitro architecture from the ground up to substantially

mitigate multiple classes of security vulnerabilities that exist in software-based hypervisors, such

as Microsoft's Hyper-V.

               a.      Unlike Microsoft's general-purpose, software-based Hyper-V hypervisor,

Nitro is hardware-based and dedicated to strictly perfonning defined operations necessary for

providing secure cloud computing resources. Nitro's design significantly reduces the number of

"attack surfaces," i.e., exploitable components, when compared to general-purpose, software-

based approaches. For example, Microsoft's Hyper-Vis controlled by a software hypervisor and

a Windows Server Operating System. The numerous features and capabilities of the Windows

Server Operation System create attack surfaces that simply do not exist in Nitro-any of which

could potentially be exploited, impacting the security of all Microsoft customer environments

controlled by the hypervisor.

               b.      Additionally, while Microsoft's Hyper-V and other general-purpose,

software-based hypervisors have terminals and/or user-interfaces that allow administrator access

with the highest possible permissions, Nitro eliminates the possibility of A WS access to customer

cloud environments by removing an administrator's ability to interact directly with those

environments, thereby significantly reducing the risk related to insider threats. See, e.g., A WS

FPR, Volume III, Tab D at 9. This attack vector-which is eliminated by Nitro-is particularly




 9   National      Vulnerability      Database,     Nat'!   Inst.    Of     Stds.   &    Tech.,
     https://nvd.nist.gov /vuln/search/results?form_type=Basic&results_ type=overview&query=hy
     per-v &search_type=all.

                                                34
dangerous to our national security, and it was the source of multiple prominent security breaches,

including the Manning and Snowden data breaches.

                c.     Unlike Microsoft's Hyper-V, which uses APis to perform numerous

functions beyond those strictly necessary to operate cloud infrastructure, A WS's Nitro architecture

uses a very limited set of AP Is designed exclusively to provide secure isolation. Limiting APis in

this manner provides two additional, substantial security benefits that general-purpose, software-

based hypervisors lack. First, Nitro can only execute functions that are necessary to run the

infrastructure; this significantly reduces the number of possible attack surfaces.      Second, by

limiting the number of APls, Nitro is able to effectively audit, log, and immutably store every

single interaction. This means that Nitro has a complete and verifiable "audit trail" of all actions

that occur within A WS's environment, allowing A WS to effectively and actively monitor for, and

react to, abnormal behaviors. This level of security cannot be matched by general-purpose,

software-based hypervisors, such as Microsoft's Hyper-V.

        77.     Nitro's ability to prevent "hypervisor breakout attacks" also sets it apart from

general-purpose, software-based hypervisors, such as Microsoft's Hyper-V. Hypervisor breakout

attacks are the most catastrophic attacks possible against a cloud platform.       If successful, a

perpetrator could gain complete access to the information, data, and applications contained in all

user environments controlled by the hypervisor, with no or very limited ability for the

compromised user to know a breach even occurred. 10 A successful hypervisor breakout attack




10
     Of note, in 2017, Microsoft reported two remote code execution vulnerabilities when its Hyper-
     V solution failed to "properly validate inputs from an authenticated user on a guest operating
     system." See CVE-2017-007 I Hyper-V Remote Code Execution Vulnerability, Microsoft
     (Mar. 14, 2017), https://portal.msrc.microsoft.com/en-US/security-guidance/advisory/CVE-
     2017-0075; CVE-2017-0109 I Hyper-V Remote Code Execution Vulnerability (Mar. 14,
     2017), https://portal.msrc.microsoft.com/en-US/security-guidance/advisory/CVE-2017-0109.
                                                35
would be devastating to customers, like DoD, who need absolute security on their cloud platform.

A WS's Nitro architecture is the first and only cloud architecture available to DoD that is capable

of effectively preventing such attacks due to its reliance on hardware, rather than software. When

shown A WS's Nitro technology, the SSEB described it as "extraordinary." SSEB Report at 4.

       78.     Stability and Scalability with No Downtime: AWS's unique Nitro architecture

improved how infrastructure components are updated and maintained in cloud data centers.

               a.      All technology systems require software patching and updates to address

security vulnerabilities, release new features, and modernize capabilities. Patches and updates

frequently require system reboots for the changes to take effect. Individuals experience this

process regularly when updating the operating system on their phone or installing software updates

on their personal computer.

               b.      Because Microsoft's cloud infrastructure is based on general-purpose

software, when Microsoft installs updates or patches, it must reboot its impacted infrastructure

before the updates can take effect. During a reboot, just like operations on a smart phone or

personal computer, any customer workloads that are running on that infrastructure will be

interrupted or terminated. Because installing patches and updates can disrupt customer workloads

for several minutes while the reboot occurs, it can be very difficult for cloud service providers to




   As Microsoft noted, this vulnerability could allow an attacker to "run a special crafted
   application on a guest operating system that could cause the Hyper-V host operating system to
   execute arbitrary code," including on the host operating system. Id. As Microsoft's
   virtualization market share increases, so too will the likelihood of additional hacks and
   vulnerabilities. See Dan Levtov, Hypervisor Market Share - ControlUp Perspective,
   ControlUp (Nov. 29, 2018), https://www.controlup.com/hypervisor-market-share-controlup-
   perspective/.

                                                36
update the entirety of their infrastructure quickly. This leaves the unpatched portions of the

infrastructure vulnerable to security breaches.

                    c.     Nitro significantly mitigates these issues.   The Nitro software can be

updated in milliseconds without disruption to customer workloads. The process is complete before

the user is even aware the update began. In a war zone, the difference between the process to

update Nitro and the process to update Microsoft's Hyper-V could have life and death impacts.

Additionally, A WS can perform updates to Nitro across its entire infrastructure in rapid

succession-and much faster than required by the RFP-allowing A WS to roll out critical patches

in near real time, effectively eliminating the vulnerabilities and security risks created by unpatched

infrastructure.

              ii.          Ability to Deploy in War Zones (Factor 3)

        79.         Here again, A WS's technology is superior. Prior to JEDI, A WS already offered

two devices-the "Snowball" and "Snowball Edge"-which weigh under 50 pounds each and can

be taken into rugged environments and war zones. Indeed, these devices currently are in use at

the tactical edge by government customers, including DoD. For example, DoD organizations-



                                                    -have Snowball Edge devices in the field today

                                           hosting cloud-native applications and providing compute,

storage, and analytics capabilities.

        80.




                                                   37
_,
               iii.          Ability to Deliver a \Vorkable, Real-World Solution (Factors 6 and 8)

         81.          The best metric for knowing whether a company can provide a real-world solution

is to see if the company already has done so successfully under similar conditions while meeting

similar requirements. AWS has. For well over a decade, the Government has entmsted AWS with

its most sensitive and mission-critical cloud computing needs. Since 2013, AWS has partnered

with                                     to provide cloud services-an initiative that

                                           called "the best decision we've ever made." According to

- • A WS's cloud solution "is pretty close" to "invincible." 11 AWS is uniquely qualified

when it comes to working with government agencies to ensure a seamless, secure, and reliable

cloud that can supp01t their operational and security needs.

         82.          AWS further demonstrated its ability to execute at its second demonsb:ation. 12

There, A WS :flawlessly executed a variety of tasks assigned by DoD, including -



         83.          It was no surprise then that industry analysts and experts widely regarded A WS as

the best choice for the JEDI Contract, refening to AWS as the "runaway favorite," 13 "in a league




 11
                                        : P1ivate Cloud "The Be.st Decision We've Ever Made;' FCW

12
      A WS perfonned a second demonstration to address errors by the Government during the fast
      demonstration.
 13
      Rosalie Chan, As Bidding Closes, Ama::.011 's Cloud is the Favorite to Wzn a $10 Billion Defense
      Deal. Here's Jf'11y Everybody Else is So Mad About it, Business Insider (Oct. 12, 2018),
      https://www.businessinsider.com/heres-why-amazon-is-heavily-favored-to-win-the-1 O-
      billion-jedi-contract-2018-10.

                                                      38
of its own," 14 and the "lone frontrunner." 15 DoD's evaluation, however, was riddled with errors

and, as a result, culminated in an award to Microsoft, despite Microsoft's inferior cloud offering.

The most plausible explanation for these otherwise inexplicable errors lies with President Trump's

persistent efforts to influence the JEDI procurement and ensure that AWS did not win.

        D.     President Trump's Interference with the JEDI Procurement Process

        84.    President Trump's animosity toward Mr. Bezos, Amazon, and the Washington Post

is well known, and it originates at least in part from his dissatisfaction with the Washington Post's

coverage of him from before he assumed office. Since at least 2015, President Trump has lashed

out against that coverage, and over time he has extended his attacks to Mr. Bezos, Amazon, and

the Washington Post, often conflating the three as one. He has called the Washington Post a

"lobbyist weapon" 16 and "tax shelter" 17 for Mr. Bezos and Amazon. He has attacked Mr. Bezos

for "own[ing] [the Washington Post] for purposes of keeping taxes down at his no profit company,

[A]mazon," 18 and called the Washington Post a "scam" to "sav[e]" Amazon from "crumbl[ing]

like a paper bag." 19 During a February 2016 campaign speech, then-candidate Trump threatened,



14
     Eric Jhonsa, Amazon's Cloud Is Still in a League of Its Own (Sony, Microsoft and Google),
     TheStreet (Apr. 9, 2018), https://www.thestreet.com/investing/stocks/amazon-cloud-is-in-a-
     league-of-its-own-14548667.
15
     Frank Konkel, Is Amazon The Lone Frontrunner For A $10 Billion Pentagon Cloud Contract,
     Nextgov (Mar. 28, 2018), https://www.nextgov.com/emerging-tech/2018/03/amazon-lone-
     frontrunner-10-billion-pentagon-cloud-contract/147035/.
16
     Donald J. Trump (@realDonaldTrump), Twitter (July 24,                     2017,    7:36   PM),
     https://twitter.com/realDonaldTrump/status/889675644396867584.
17
     Donald J. Trump (@realDonaldTrump), Twitter (Dec. 7,                      2015,   7:18    AM),
     https://twitter.com/realdonaldtrump/status/673884271954 77 6064.
18
     Donald J. Trump (@realDonaldTrump), Twitter (Dec. 7,                      2015,   7:08    AM),
     https://twitter.com/realdonaldtrump/status/673881733415178240.
19
     Donald J. Trump (@realDonaldTrump), Twitter (Dec. 7,                      2015,   7:22    AM),
     https://twitter.com/realDonaldTrump/status/673885376742825984.

                                                 39
"If I become President, oh [does Amazon] have problems.             They're gomg to have such

problems." 20 And in an interview with Sean Hannity on May 13, 2016, then-candidate Trump

asserted that Mr. Bezos bought the Washington Post "as a tool for political power against me and

against other people" and to "try and stop antitrust" (i.e., to try to stop the administration from

breaking up his "monopoly"). 21 The attacks escalated in frequency and intensity once President

Trump ascended to the White House.

        85.    Since assuming office, President Trump has used his office to step up his attacks

against Amazon, the Washington Post, and Mr. Bezos. As evidence that the three are one and the

same in his mind, President Trump has frequently referred to the "Amazon Washington Post" as a

single entity, and he has frequently hurled invective against Amazon whenever the Washington

Post publishes articles that he believes slight him or his Administration. 22 President Trump has

also repeatedly claimed the Washington Post is selling "fake news," 23 and he has called it an

"[e]nemy of the [p]eople[.]" 24




2
 ° CNBC       Now (@CNBCnow), Twitter (Feb. 26, 2019), https://twitter.com/CNBCnow/
     status/703296870521528320.
21
     Jonathan Chait, Trump Is 'Obsessed' With Amazon Because He Wants to Crush the
     Washington Post, N.Y. Magazine, (Mar. 28, 2018), http://nymag.com/intelligencer/
     2018/03/trump-obsessed-with-amazon-wants-to-crush-washington-post.html; Donald J.
     Trump (@realDonaldTrump), Twitter (July 24, 2017, 7:36 PM), https://twitter.com/
     realDonaldTrump/status/889675644396867584.
22
     Donald J. Trump (@realDonaldTrump), Twitter (June 28, 2017, 6:06 AM), https://twitter.com/
     realdonaldtrump/status/880049704620494848; Donald J. Trump (@realDonaldTrump),
     Twitter (July 23, 2017, 4:57 PM), https://twitter.com/realDonaldTrump/status/
     889273320574783489; Donald J. Trump (@realDonaldTrump), Twitter (July 24, 2017, 7:23
     PM), https ://twitter .com/realDonaldTrump/status/8896723 7445 86465 28.
23
     Donald J. Trump (@realDonaldTrump), Twitter (June 28, 2017, 6:06 AM), https://twitter.com/
     realDonaldTrump/status/880049704620494848.
24
     Donald J. Trump (@realDonaldTrump), Twitter (Mar. 4, 2019, 6:04 PM), https://twitter.com/
     realdonaldtrump/status/1102751706444636160; Donald J. Trump (@realDonaldTrump),
                                                40
        86.    The President has also falsely blamed Amazon for the economic woes of others.

For example, in August 2017, he tweeted: "Amazon is doing great damage to tax paying retailers.

Towns, cities and states throughout the U.S. are being hurt-many jobs being lost!" 25 He has

claimed Amazon is taking advantage of the U.S. taxpayer by not paying higher rates to the U.S.

Postal Service, 26 and accused Amazon of not running a "level playing field" with other retailers. 27

He summed up his "concerns" thusly: "Unlike others, they pay little or no taxes to state & local

governments, ~se our Postal System as their Delivery Boy (causing tremendous loss to the U.S.),

and are putting many thousands of retailers out of business[.]" 28

        87.    When DoD announced the JEDI Contract RFP m late 2017 and early 20 I 8,

President Trump ratchetted up his rhetoric against Amazon, attacks publicly reported to have been

further fueled by encouragement from Amazon's critics and competitors. For example,just weeks

after the JEDI Contract proposal was announced, the New York Post-known to be one of




     Twitter (Mar.   4,   2019,        6:10    PM),     https://twitter.com/realdonaldtrump/status/
     1102753238451929088.
25
     Donald J. Trump (@realDonaldTrump ), Twitter (Aug. 16,                    2017,    3: 12   AM),
     https://twitter.com/realDonaldTrump/status/897763049226084352.
26
     Donald J. Trump (@realDonaldTrump), Twitter (Apr. 3, 2018, 6:55 AM),
     https://twitter.com/realdonaldtrump/status/98 I 168344924536832; Donald J. Trump
     (@realDonaldTrump), Twitter (Dec. 29, 2017, 5:04 AM), https://twitter.com/
     realDonaldTrump/status/94672854663 39 53285.
27
     Donald J. Trump (@realDonaldTrump), Twitter (Apr. 2, 2018, 6:35 AM),
     https://twitter.com/i/web/status/980800783313702918; Edward Helmore, What is the Donald
     Trump v Jeff Bezos Feud Really About?, The Guardian (Apr. 7, 2018),
     https://www.theguardian.com/us-news/2018/apr/07/trump-bezos-feud-amazon-washington-
     post-taxes-usps; Marc Fisher, Why Trump Went After Bezos: Two Billionaires Across a
     Cultural Divide, Wash. Post (Apr. 5, 2018), https://www.washingtonpost.com/politics/why-
     trump-went-after-bezos-two-b iIIi onaires-across-a-cultural-di vide/2018/04/0 5/22 bb94c2-
     3763-11e8-acd5-35eac230e5 l 4_ story.html.
28
     Donald J. Trump (@realDonaldTrump), Twitter(Mar. 29, 2018, 4:57 AM), https://twitter.com/
     realdonaldtrump/status/979326715272065024.

                                                 41
President Trump's favorite newspapers-published a photo of Mr. Bezos with the headline:

"President Trump: Your Defense Department is set to award a no-bid, ten-year contract for all its

IT infrastructure to Administration-enemy Jeff Bezos' Amazon." The page further stated: "Thank

you for the $100 billion handout. The cash will really help my many efforts to oppose your

Administration's policies," and it was (fictitiously) signed: "Your pal, Jeff, Owner, Amazon &

The Washington Post [sic]. " 29

        88.    Oracle co-CEO Safra Catz-who served on President Trump's transition team and

has met with him repeatedly-held a private dinner with President Trump on April 2, 2018, during

which she advocated against A WS in the JEDI procurement process. 30

        89.    In the days after he had dinner with Ms. Catz, President Trump began to complain

in tweets about Amazon's "costing the United States Post Office massive amounts of money for

being their Delivery Boy" (Apr. 3, 2018) 31 and called the Washington Post "Amazon's 'chief

lobbyist"' (Apr. 5, 2018). 32

        90.    Around this same time, President Trump's advisors reported that he had grown

"obsessed" with Mr. Bezos and was asking how he could "fl<** with him." 33 So President Trump's




29
     Troy K. Schneider, Tabloid Ad Tries to Focus Trump on DOD 's JEDI Cloud Contract, FCW
     (Mar. 28, 2018), https://fcw.com/articles/2018/03/28/amazon-jedi-trump-ad.aspx.
30
     Jennifer Jacobs, Oracle's Safra Catz Raises Amazon Contract Fight With Trump, Bloomberg
     (Apr. 5, 2018), https://www.bloomberg.com/news/articles/2018-04-04/oracle-s-catz-is-said-
     to-raise-amazon-contract-fight-with-trump.
31
     Donald J. Trump (@realDonaldTrump), Twitter (Apr. 3, 2018, 6:55 AM), https://twitter.com/
     realdonaldtrump/status/981168344924536832.
32
     Donald J. Trump (@realDonaldTrump), Twitter (Apr. 5, 2018, 6:10 AM), https://twitter.com/
     realdonaldtrump/status/981881669593559040.
33
     Gabriel Sherman, "Trump Is Like, 'How Can I F-k With Him?'": Trump's War With
     Amazon (And The Washington Post) Is Personal, Vanity Fair (April 2, 2018),
                                               42
advisors encouraged the President to "cancel" the "pending multi-billion contract" between

Amazon and the Pentagon. 34

           91.   As the JEDI procurement process continued, President Trump's anti-Amazon

rhetoric grew more strident, and his directives more overt and clear, both publicly and behind the

scenes. In the summer of 2018, President Trump ordered then-Secretary James Mattis to "screw

Amazon" out of the JEDI Contract opportunity. 35 Contrary to that order, Secretary Mattis

demurred, later explaining to his team that he wanted the process to be "done by the book, both

legally and ethically." 36 Less than half a year later, Secretary Mattis left his post as Secretary of

Defense, with the President claiming that he had fired him, 37 another in an ongoing series of exits

from the Trump Administration for individuals who have refused to unquestioningly follow all of

the President's directives.

           92.   Competitors of A WS, including Oracle and IBM, also tried to derail the JEDI

evaluation process. Oracle and IBM challenged A WS's eligibility to submit a bid for the JEDI

Contract before the Government Accountability Office, alleging A WS should be barred because

of an organizational conflict of interest. The GAO denied the protest, finding no evidence of an

organizational conflict of interest that would disqualify A WS from pursuing the JEDI Contract.




     https://www.vanityfair.com/news/2018/04/trump-war-with-amazon-and-the-washington-
     post-is-personal.
34   Id.
35
     Guy M. Snodgrass, Holding the Line: Inside Trump's Pentagon with Secretary Mattis 309
     (2019).
36   Id.
37
     Maggie Haberman, Trump Says Mattis Resignation Was 'Essentially' a Firing, Escalating His
     New      Front    Against   Military   Critics,    N.Y.     Times     (Jan.    2,  2019),
     https://www .nytimes.com/2019/01/02/us/politics/trump-mattis-defense-secretary-
     generals.html.

                                                 43
Oracle further submitted a pre-award bid protest to this Court, which considered-and ultimately

rejected-Oracle's arguments on July 12, also concluding that alleged conflicts of interest did not

impact the procurement process. See Oracle Am., Inc. v. United States, 143 Fed. Cl. 341 (2019). 38

        93.     Less than a week after Oracle's efforts to derail the JEDI procurement failed in this

Court, Senator Marco Rubio-whose political campaign received support from Oracle founder

Larry Ellison, 39 and whose former chief of staff was an Oracle lobbyist40-implored President
                                                                                      41
Trump to "delay awarding [the] cloud computing contract to @amazon."                       Similarly,

Representative Steve Womack urged President Trump to devote his "personal attention" to




38
     In addition, Oracle's lobbying efforts included a one-page flow chart, titled "A Conspiracy to
     Create a Ten Year DoD Cloud Monopoly," which was reportedly shown to President Trump.
     The chart propagated a conspiracy narrative that Amazon was politically connected with
     several high-level former Pentagon officials, and it created a false impression of "corruption
     and conflicted interests" through the use of images of dollar signs, arrows, and a heart. This
     false narrative has been debunked, both by this Court and DoD-yet its circulation to President
     Trump is troubling and further evidence of his bias against A WS. See Michael Warren et al.,
     Exclusive: Inside the Effort to Turn Trump Against Amazon's Bid for a $10 Billion Contract,
     CNN (July 27, 2019), https://www.cnn.com/2019/07126/politics/oracle-trump-amazon-
     defense-contract-conspiracy/index.html; Tom McKay, Oracle Document Claiming an Amazon
      'Conspiracy' to Win Military Contract Makes It to Trump's Desk, Gizmodo (July 27, 2019),
     https://gizmodo.com/oracle-document-claiming-an-amazon-conspiracy-to-win-mi-
     1836760675.
39
     Tarini Parti, Oracle's Larry Ellison to Host Fundraiser for Rubio, Politico (May 13, 2015),
     https://www.politico.com/story/20 I 5/05/larry-ellison-marco-rubio-fundraiser-117895.
40
     Lee Fang, Exclusive: Senator Marco Rubio 's Chief of Staff Maintains Financial Ties To
     Lobbying Firm, Republic Report (June 4, 2012), https://www.republicreport.org/2012/marco-
     rubio-lobbyist/.
41
     Marco Rubio (@marcorubio), Twitter (July 19, 2019, 4:16 AM), https://twitter.com/
     marcorubio/status/l l 52 l 75409863319552.

                                                 44
intervene in the JEDI procurement process, and Senator Ron Johnson asked then-Acting Secretary

of Defense Mark Esper to delay the JED I award. 42

        94.    President Trump subsequently escalated his intervention, jettisoning any

appearance of impartiality by making clear to DoD (and to the world) that he did not want AWS

to get the JED I Contract.

        95.    During a July 18, 20 I 9, press conference, President Trump said he was looking

"very seriously" into the JEDI procurement process (which he mistakenly referred to as "The

Amazon" process) and that he would "be asking [DoD] to look at it very closely" because of

"tremendous complaints about the contract with the Pentagon and with Amazon." 43

        96.    Following this statement, the President's son, Donald Trump, Jr., began to refer to

Mr. Bezos as "No Bid Bezos" (apparently insinuating that the JEDI Contract would be a sole-

source award to A WS) on Twitter (echoing the ad published in the New York Post in March 2018),

and proclaimed that "the shady and potentially corrupt practices from @amazon and No Bid Bezos

may come back to bite them." 44 This tweet also reflects the Administration's attempts at

misinformation: the suggestion that this was a "no bid" sole source award is of course false.




42
     Ben Brody & Naomi Mix, Lawmakers Press Trump, Pentagon Over $10 Billion JEDI Cloud
     Deal, Bloomberg (July 8, 2019), https://www.bloomberg.com/news/articles/2019-07-
     08/lawmakers-press-trump-pentagon-over-10-billion-jedi-cloud-deal.
43
     Scott Shane & Karen Weise, Trump Says He May Intervene in Huge Pentagon Contract Sought
     by Amazon, N.Y.            Times (July      18,   2019),    https://www.nytimes.com/2019/
     07 /18/us/politics/trump-amazon-defense-department-contract.html; Aaron Gregg & Jay
     Green, Trump Says Pentagon's $10 Billion Cloud Contract Should Be Investigated. Again.,
     Wash. Post (July 18, 2019), https://www.washingtonpost.com/business/2019/07/18/trump-
     says-pentagons-billion-cloud-contract-should-be-investigated-again/.
44
     Donald Trump Jr. (@DonaldJTrumpJr), Twitter (July 18,                  2019,   10:24   AM),
     https://twitter.com/DonaldJTrumpJr/status/1151905489472630785.

                                               45
        97.    On July 22, 2019, President Trump tweeted a video from a Fox News segment

calling the JED I Contract the "Bezos Bailout, " 45 and unleashed yet another series of attacks on the

"Amazon Washington Post." 46

        98.    These escalations occurred as DoD was completing its final evaluations of A WS's

and Microsoft's proposals, and shortly before DoD reached an award decision.

        E.     Competitive Range Determination, Discussions, Evaluations

        99.    A WS' s initial proposal had a total evaluated price                    . SSDD at 5.

To achieve this value for DoD, A WS proposed, among other things, to leverage its existing

classified cloud infrastructure,                                                 and DoD, enabling

A WS to provide substantial cost savings for DoD while also delivering proven and tested

infrastructure capable of handling the nation's most sensitive information. AWS Initial Proposal,

Volume III, Tab A at 5. AWS's proposal also highlighted its unique Nitro architecture-a

purpose-built, hardware-based virtualization tool that provides superior security and performance.

AWS Initial Proposal, Volume III, Tab B at 7-9. Thus, AWS proposed the best technology

available at the lowest price possible.

        100.   DoD's evaluation of AWS's initial proposal, reflected in evaluation reports that

DoD provided to AWS on April 10, 2019, did not indicate any concern about AWS's use of

existing classified infrastructure to perform the JEDI Contract.         See generally TEB Initial




45
     Donald J. Trump (@realDonaldTrump), Twitter (July 22, 2019, 4:20 PM), https://twitter.com/
     realdonaldtrump/status/1 l 53444627573280768.
46
     Donald J. Trump (@realDonaldTrump), Twitter (July 22, 2019, 5:31 AM), https://twitter.com/
     realdonaldtrump/status/1 l 53281479184658433; Donald J. Trump (@realDonaldTrump),
     Twitter (July 22, 2019, 5:31 AM), https://twitter.com/realDonaldTrump/status/
     1153281480073908224.

                                                 46
Evaluation. It also recognized the substantial benefits of A WS's Nitro architecture. See, e.g., TEB

Factor 2 Initial Evaluation at 9.

        l 0 I.   After evaluating initial proposals received in response to the JED I RFP, on

April 10, 2019, DoD narrowed the competitive range for the JEDI Contract to A WS and Microsoft.

That same day, the Agency opened discussions with both offerors.

        102.     During discussions in May 2019, however, DoD required A WS to revise its

technical and pricing approaches to keep pace with late-breaking changes to DoD's requirements.

For example, without technical justification, DoD amended the RFP to require the storage of data

in the Price Scenarios in a highly accessible form despite the fact A WS had already proposed a

compliant solution using services that provided                                   to meet customer

needs in a realistic, effective, and efficient manner. RFP Amend. 0005. This change created an

artificial limitation on AWS's proposed technical solution,



_ , i.e., a - increase from AWS's initial total evaluated price. Similarly, even though

DoD's technical evaluators confirmed that A WS's proposed solution was "realistic and feasible,"

TEB Factor 2 Initial Evaluation at 32, DoD amended the RFP                              in the Price

Scenarios, RFP Amend. 0005. This change resulted in an increase of

in AWS's total evaluated price. Finally, at the eleventh hour-months after DoD completed its

evaluation of AWS' s initial proposal, and after the conclusion of all scheduled discussions-DoD

changed its interpretation of the RFP's classified infrastructure requirements, requiring A WS to

build dedicated classified infrastructure for DoD, thereby preventing A WS from leveraging its

existing classified infrastructure (which is currently in use in support of both




                                                  47
-             and DoD) and increasing A WS's total evaluated price

RFP Amend. 0005.

       103.     On May 13, 2019, the Government requested Interim Proposal Revisions ("IPR").

AWS submitted its first IPR on June 12, 2019. On July 3, 2019, DoD informed AWS that it

intended to hold discussions related to A WS's IPR on a rolling basis. Through this process, A WS

submitted its second (and final) IPR incrementally, submitting various updates to its proposal on

July 15, 2019, July 25, 2019, July 30, 2019, and August 9, 2019.

       104.     DoD evaluated AWS's final IPR under the non-price factors (in order of

importance) as follows:




See FPR Re-Affirmations (indicating the entire technical evaluation remains unchanged and

hereby is reaffirmed).




                                               48
       105.     AWS's total evaluated price for its final IPR                    , approximately



       106.     Based on the offerors' IPRs, DoD engaged in further discussions with the offerors

and, on August 28, 2019, requested FPRs from AWS and Microsoft.

       107.     DoD's FPR evaluation was as follows:

              Offeror Name
                 AWS
                Microsoft


                 AWS
                Microsoft


                 AWS
                Microsoft


                 AWS
                Microsoft


                 AWS
                Microsoft


                 AWS
                Microsoft


                  AWS
                Microsoft

SSDDat 5-6.



                                                49
         I 08.   Microsoft's FPR had a total evaluated price of $678,517,417.38. Id. at 6. AWS's

FPRhad

         I 09.   DoD' s technical and price assessments supporting the final FPR evaluation for each

Factor described above were fundamentally flawed for the following reasons:

FACTOR2

         110.    DoD made at least three critical errors to reach its erroneous determination that

                                             under Factor 2, Logical Isolation and Secure Data

Transfer. SSDD at 8. In particular, DoD committed three errors in its evaluation of AWS's and

Microsoft's proposals:     (1) it arbitrarily removed previously assessed strengths from its final

evaluation and failed to recognize others; (2) it deviated from the RFP's stated evaluation criteria;

and (3

         DoD Arbitrarily Removed Previously Assessed Strengths and Failed to Recognize Others

         111.    In its February 19, 2019, evaluation of AWS's initial proposal submission for

Factor 2, DoD identified several strengths and one risk reduction. Yet, in its final evaluation, DoD

inexplicably omitted these strengths and risks reductions, even though A WS did not remove these

strengths and risk reductions from its proposal.       The strengths and risk reductions initially

identified and later wrongly removed included the following:

                 a.     The TEB found that A WS's "viitual networking functionality in the 2nd

(and 3rd) generation design is a strength as it provides a stronger baseline of network isolation

than the industry norms, thus reducing the likelihood of inappropriate mixing of tenant traffic and

thus decreasing the risk of contract non-performance." TEB Factor 2 Initial Evaluation at 8. The

TEB assigned an additional strength because A WS's Nitro architecture "implements cryptographic

protections for disk storage and network traffic in hardware, thus substantially increasing the



                                                 50
barrier for an attacker and decreasing the security risk." Id. at 9. Neither of these strengths,

however, is reflected in the TEB's final evaluation. See generally TEB Factor 2 IPR Report. Given

AWS did not change its solution for network isolation, disk storage, or network traffic, the TEB's

unexplained omission of the previously assessed strengths from the final evaluation was

unreasonable. See id.

               b.       The TEB assigned A WS a strength for highlighting the way in which its



                                                        Id. at 26. In its FPR, A WS continued to

emphasize the flexibility of its marketplace offerings, noting A WS' s extensive experience working

with the Government in its existing classified cloud infrastructure to curate A WS marketplace

titles, share security scan results, and create private marketplace offerings. See A WS FPR, Volume

III, Tab B at 17. The TEB therefore had no basis to omit this previously assessed strength from

the final evaluation. See generally TEB Factor 2 IPR Report.

               c.       The TEB assessed AWS a strength for its CloudFormation service, which

the TEB found "strengthens the proposed solution by providing the Government with the ability

to rapidly deploy reusable secure network architectures in common scenarios without network

security experts performing redundant work." TEB Factor 2 Initial Evaluation at 26. The TEB

had no basis to omit this previously assessed strength from the final evaluation, given that

CloudFormation remained a JEDI Cloud Service in AWS's FPR. See generally TEB Factor 2 IPR

Report; see AWS FPR, Volume III, Tab Bat 19.

               d.       The TEB assessed A WS a reduction in contract non-performance risk

because the "Offeror indicates that the network design and implementation have been reviewed,

audited, and accredited at the Secret and Top Secret levels which eases JEDI Cloud adoption and



                                                51
decreases the risk of contract non-performance." Id. at 17. A WS' s FPR also indicated that A WS' s

network design and implementation had been reviewed and accredited at the Secret and Top Secret

levels. AWS FPR, Volume III, Tab B at 11. Accordingly, the TEB had no basis to omit this

previously assessed risk reduction from the final evaluation. See generally TEB Factor 2 IPR

Report.

          112.   AWS did not revise its proposal in any way that would justify the TEB's complete

omission of the above strengths from the final evaluation. See FPR Factor 2 Re-Affirmation at I

("The IPR is nearly identical to the final proposal revision (FPR) submitted by A WS.").

          113.   In addition, DoD failed to assign A WS a strength for its

                  . The RFP required offerors to propose a cross-domain solution to achieve secure

data transfer and stated DoD would evaluate "the degree to which the proposed Transfer Cross

Domain Solution will address [the requirements] in Section L, Factor 2(a)(a-h)." RFP at 82, 94.

AWS's                                   service is an existing,

-           service that has been available to customers in AWS's Top Secret and Secret regions

since June 2017 and which has advanced and proven capabilities that exceed the RFP's

requirements. See A WS FPR, Volume III, Tab A at 56; AWS FPR, Volume Ill, Tab B at 40.

DoD, however, ignored this aspect of A WS's proposal, despite the fact that this existing and

proven solution substantially reduces performance risk. See generally TEB Factor 2 IPR Report.

          114.   Moreover, DoD failed to assign A WS strengths for using                   to trigger

additional processing when a file is transferred, and using                    to provide machine

learning interfaces for tactical edge devices. The RFP required each offeror to "provide a detailed

description of the technical approach to Price Scenario 3(c) with a focus on how that information

evidences the Offeror's secure data transfer approach." RFP at 83. When evaluating A WS's



                                                52
proposal against this requirement, the TEB found that A WS's reliance on                        "is an

effective method of initializing further analytics at the Secret level, while

provides machine learning interface on the tactical edge device prior to replication." TEB Factor

2 IPR Report at 40-41. Yet, it inexplicably failed to assign strengths for this effective approach.

See id.

          115.   DoD's failure to recognize the above aspects of AWS's proposal arbitrarily deflated

A WS's evaluation rating under Factor 2.

          DoD Deviated from the RFP's Evaluation Criteria

          116.   Factor 2 required DoD to evaluate offerors' proposed logical isolation architecture

and implementation for unclassified and classified offerings, including "the implementation and

configuration of the hypervisor." RFP at 82 (emphasis added). In particular, the RFP required

DoD to assess:

    •     How the virtualization system, or hypervisor, manages using a management console;

    •     How the management console communicates with its client hypervisors over a network
          connection that is operating at the highest security level supported by the virtualization
          systems;

    •     How communications between the management console and its client hypervisors are
          encrypted using standards-based security protocols (e.g., TLS, IPSec) using Federal
          Information Processing Standards ("FIPS")-certified cryptography;

    •     How the hypervisor and management console shall log security and change-related events
          to both local and remote log repositories;

    •     How the management console interface on the hypervisor is protected;

    •     How boundary protections and isolation between tenants is provided (e.g., virtual firewalls,
          virtual switches); and

    •     How physical and virtual intrusion detection and prevention systems shall be used to
          protect the hypervisor and tenants.

Id. at 82-83.

                                                   53
       117.    Section 2.7 of the SOO, which describes one of JEDI's "primary objectives,"

requires offerors to provide "[s]ecurity that enables enhanced cyber defenses from the root level

of systems through the application layer and down to the data layer with improved capabilities

including ... resiliency against persistent adversary threat." SOO at 3.

       118.    The security of the hypervisors thus represents the most critical component of an

offeror's proposed approach for logical isolation.

       119.    When making its source selection decision, DoD failed to evaluate A WS's proposal

in accordance with these criteria. DoD failed to recognize that A WS's Nitro architecture-an

innovative hardware-based hypervisor-enables A WS to deliver security to DoD users that far

exceeds the RFP's requirements, as well as Microsoft's capabilities.

               a.     Nitro is A WS's proprietary hypervisor that uses purpose-built hardware,

finnware, and software modules to virtualize network and storage resources for DoD users. A WS

FPR, Volume III, Tab Bat 6.

               b.     Nitro is a substantial step forward in hypervisor technology. Traditional

hypervisors, such as Microsoft's Hyper-V, bifurcate a computing environment into trusted and

untrusted elements.     Trusted elements represent the space only accessible to the cloud

administrator (such as Microsoft) from which the cloud administrator provisions compute

resources to users. Untrusted elements represent the space occupied by users (such as DoD)

performing compute functions. A major risk in the traditional hypervisor structure is that a

malicious actor in an untrusted element will "breakout" and gain access to the trusted elements-

from which the malicious actor could potentially gain access to, and control over, all untrusted

elements/user environments within the system.




                                                54
               c.      AWS's Nitro architecture practically eliminates the risk of these

"hypervisor breakout attacks" by hosting the tmsted elements on dedicated hardware that is

separate and distinct from the untmsted elements iI1 which users operate. See, e.g., id. at 38. This

partition is a significant defense to hypervisor breakouts because it significantly mitigates the

ability of a malicious actor to access trusted elements even if they breakout of an untmsted element.

Id.

               d.      Tue TEB demonstrated its initial understanding of AWS' s Nitro

architecture and the advanced security capabilities it offers.     It noted that the "Nitro design

approach to achieving greater assurance of logical separntion is to devote a significant portion of

critical functionality to dedicated hardware rather than on hardware shared with tenant

processing." TEB Factor 2 IPR Report at 9-10. It also noted that this "physical se1:>aration limits

the attack surface exposed to tenants." Id. at 10.

           I

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           I




                                                 55
               e.       The SSEB recognized that A WS's "approach to logical isolation at the

hypervisor level ... represents an extraordinary approach to the Government's requirements in

this area." SSEB Report at 4 (emphasis added). Noting that "[s]eparation of tenants (customers)

within the cloud infrastructure is one of the key security challenges facing cloud providers and a

critical security requirement of the RFP," the SSEB found that the "AWS solution goes beyond

the industry-standard approach and further logically isolates tenants within the shared physical

infrastructure." Id. at 5 (emphases added). The SSEB further stated thatAWS's solution "reduces

the risk of cyber compromise and represents a significant security benefit to the Government."

Id. (emphasis added).

               f.       The SSAC agreed with both the TEB's and the SSEB's findings that Nitro

offers a superior approach to infrastructure security. It "recogniz[ed] the value in providing

hardware-backed logical isolation of tenants, and a rigid interface for A WS administrator

interaction with virtual workloads" and "agree[ d] with the SSEB' s assertion that A WS' s hardware

enforced separation of the control plane reduces the risk of cyber compromise." SSAC Report at

5-6 (emphasis added). It also found that "the A WS hardware-backed approach significantly

decreases the likelihood of a hypervisor breakout attack." Id. at 6 (emphasis added).

               g.       Nevertheless, the SSAC decided the Nitro architecture




                                               Id. The first statement is simply false, and both of

these justifications are inconsistent with the evaluation criteria. Moreover, the justifications are



                                                56
inconsistent with concerns previously raised by DISA,

-      when meeting with the members of DoD CI O's Office and A WS in June 2019.

               h.      In addition to substantially mitigating

--which the TEB correctly recognized as significant-Nitro mitigates or eliminates the

risks associated with the very types of cyberattacks cited by the SSAC, as well as insider threats,

data exfiltration/theft, and many other infrastructure vulnerabilities. See, e.g., A WS FPR, Volume

Ill, Tab D at 9. Unlike Microsoft's general-purpose, software-based Hyper-V hypervisor, Nitro

eliminates all direct human access by administrators to customer cloud environments, thereby

removing the risks related to "bad administrator hygiene" and insider threats. See TEB Factor 2

IPR Report at 11. Moreover, A WS uses advanced system audits and checks to ensure the security

and integrity of the Nitro boot process and interface prior to the deployment of software. See, e.g.,

A WS FPR, Volume III, Tab D at 6. This approach prevents the deployment of "poorly written"

or "misconfigured software" to the most critical component of the cloud infrastructure. See id.

Nitro also allows for patching in milliseconds-which far exceeds the RFP's requirement for

patching within eight hours of a vulnerability notification-and without any disruption to customer

workloads. AWS FPR, Volume Ill, Tab D at 2-4. This allows AWS to perform updates to Nitro

across its entire infrastructure in rapid succession--ensuring critical patches can be deployed in

near real time to effectively eliminate the vulnerabilities and security risks inherent in unpatched

infrastructure. Id Finally, Nitro is purpose-built to operate A WS' s cloud infrastructure using only

a limited set of APis designed exclusively for that purpose. By limiting the number of APis, Nitro

is able to effectively audit, log, and immutably store every single interaction, allowing for reliable

active monitoring. See, e.g., A WS FPR, Volume III, Tab Bat 19. The security benefits of Nitro

are best described by the TEB: "[Nitro] substantially reduces the possible attack surface exposed



                                                 57
to any potential malicious actor, even one who has managed to 'break out' of a tenant VM." TEB

Factor 2 IPR Report at I 0.




                          A WS's Nitro architecture substantially mitigates the risks of hypervisor

breakout attacks. The TEB and SSEB recognized this threat and assigned A WS strengths on this

basis. Id. at I, 9-11; SSEB Report at 4-5. The SSAC, however, erroneously

                                                                                       . SSAC Report

at 6. This reasoning ignores                                               are often preceded by user

error within individual customer environments and are significantly more catastrophic when

successful. It also ignores the fact that Factor 2 of the RFP focused on hypervisor security and

attacks. RFP at 82-83. The SSAC's justification



                              had the effect of creating false parity between A WS's Nitro architecture

and Microsoft's Hyper-V solution.

               j.      Based on these clear errors and omissions, the SSAC improperly

downgraded A WS's "extraordinary approach to the Government's requirements in this area."

SSEB Report at 4. The Source Selection Authority explicitly adopted the SSAC's reasoning,

stating she "consider[ed] and adopt[ ed] all of the SSAC report" (SSDD at 7) and that -

                                   for Factor 2 (id. at 8). The SSA's conclusion improperly ignored

the significant benefits of the A WS Nitro architecture and deviated from the RFP's stated

evaluation criteria. But for this inexplicable departure from the TEB's and the SSEB's evaluation



                                                   58
judgments and the RFP's evaluation criteria,




       120.   Finally, DoD assessed A \VS

lbased on DoD's misunderstanding of AWS's proposal, further skewing the Agency's evaluation

                    and rendering DoD's evaluation per se unreasonable.

              a.




              b.




                                                                                -
                                               59                               -
           C.




           d.




                     -
-   121.



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                60
FACTOR3

        122.   DoD erroneously detennined                                               under Factor

3, Tactical Edge. SSDD at 8. Specifically, DoD incorrectly determined that

                                               , engaged in disparate treatment, applied an unstated

evaluation criterion                                                  , and overlooked a deserved

strength.

        123.   Factor 3 required offerors to propose at least one tactical edge device in each of two

tactical device categories, and encouraged offerors to propose additional devices to satisfy the "full

range of military operations," including dismounted operations. RFP at 84-85. Category 1 devices

included durable, ruggedized, and portable compute and storage devices. Id. at 84. Category 2

devices included static, modular, rapidly deployable data centers. Id. at 85.

        124.   When evaluating proposals, DoD arbitrarily minimized the technical gap between

AWS's robust and currently deployed tactical edge offering and Microsoft's lesser solution. In

reality, Microsoft's Factor 3 proposal did not meet the minimum requirements of the RFP and

should have been un-awardable. See SSAC Report at 6.



        125.




               a.      First, as A WS explained in its proposal, the Snowball Edge device "is

human portable and does not require heavy equipment to move." AWS PPR, Volume III, Tab C



                                                 61
at 5.




              b.
                                                                  The TEB found the Snowball

Edge devices "are able to be lifted by a single person, making them portable, with limitations."

TEB Factor 3 IPR Report at 3 (emphasis added).




-             c.      In light of A WS's unequivocal statements




. , it was arbitrary and capricious for DoD to conclude that A WS

                       This is especially so given the SSAC explicitly recognized that -

                                                                       SSAC Report at 6.     As

previously noted, the SSA explicitly adopted the SSAC's reasoning, stating she "consider[ed] and



                                              62
adopt[ed] all of the SSAC report." (SSDD at 7.) Therefore, the SSA's source selection decision

relied upon and incoiporated the errors made by the SSAC.

              DoD Engaged i11 Disparate Treatment

       126.

                                                      . TEB Factor 3 JPR Repo1i at 3, 6, 7-8.

              a.




I
              I




      ■



47




                                             63
       128.



-          At a minimum,

                                           it should have assigned Microsoft a deficiency and

determined it ineligible for award



                    lied an Unstated Evaluation Criterion
                                      and Overlooked a Deserved Strength

       129.
                                                                                    -
               a.




               b.                                                   -
                                                64
-
        130.    Separately, DoD also failed to recognize that AWS's Snowball Edge has already

been accredited for Impact Level 6 and is deployed operationally today with

                        and DoD Combatant Commands in war zones,                               . See

AWS FPR, Volume III, Tab Cat 1-3. This means the risk associated with AWS's Snowball Edge

devices is virtually zero. A WS deserved significant credit for this aspect of its proposal.

        131.    Under a rational evaluation, DoD would have credited A WS appropriately for its



                                               But for these evaluation errors, A WS -



--
F ACTOR4

        132.    DoD erroneously determined                                              under Factor

4, Information Security and Access Controls. SSDD at 8. In particular, it deviated from the RFP's

evaluation criteria by failing to credit A WS for its substantial information security and access

control capabilities.




                                                 65
        133.    Factor 4 required DoD to evaluate offerors' approaches to information security by

assessing (i) the degree to which the physical location and logical isolation of hosted services is

discoverable and auditable; (ii) the degree to which breach identification is automated and the

efficacy of processes for mitigation, isolation, and reporting; (iii) the frequency, accuracy, efficacy,

and degree of automation of patching and vulnerability management of hardware, software, and

other system components; and (iv) the degree to which patching enforcement can be controlled

based on vulnerability criticality. RFP at 85, 95-96.

        134.    When evaluating A WS' s proposal, DoD failed to recognize several key features

that AWS's Nitro architecture provided to ensure the highest level of information security.

                a.      As discussed above, A WS proposed its purpose-built Nitro architecture to

provide DoD with the most secure hypervisor available. Nitro achieves a level of isolation that is

unique from all other cloud service providers. A WS FPR, Volume III, Tab D at I. One of the key

features of the Nitro architecture is that host hardware cannot access the cloud infrastructure unless

A WS first provisions resources (such as CPU, storage, or network) to cloud users.                 The

provisioning process includes a strong technical control that overwrites all finnware on host

hardware, eliminating the possibility that compromised hardware could ever be used as part of the

cloud services. Further, not only does Nitro prevent firmware updates by "normal" software driven

means, but the host hardware is continually scanned to ensure the firmware remains unchanged.

Id. at 6. This automated control exceeds the industry standard, which relies on humans to verify

the integrity of certain (but not all) host firmware.

                b.      Moreover, the Nitro architecture provides substantial security benefits for

supply chain integrity. Because Nitro is purpose-built to operate hosts within the AWS cloud,         I
                               that ensures the integrity of firmware accessing the cloud. When a



                                                  66
host accesses a virtual machine, Nitro holds the system

                                           . Id. This process occurs· at every reboot of the host

system. Id.

               c.      AWS's Nitro architecture also offers enhanced patching capabilities that

allow A WS to resolve vulnerabilities rapidly without disruption to DoD functions. Id. at 4. The

SOO required the JEDI contractor to be able to apply patches and updates to underlying

infrastructure and cloud services within eight hours of notification. SOO at 14. Nitro allows for

patching in milliseconds and without any disruption to customer workloads. A WS FPR, Volume

III, Tab D at 2-4. This allows A WS to perform updates to Nitro across its entire infrastructure in

rapid succession-ensuring critical patches can be deployed in near real time to effectively

eliminate the vulnerabilities and security risks inherent in unpatched infrastructure. Id.

               d.      Finally, the Nitro architecture substantially mitigates the risks of insider

threats and data exfiltration/theft by eliminating administrator access to customer cloud

environments and enabling active monitoring of every single interaction. Id. at 9. As the U.S.

Government has seen with Private Bradley (now Chelsea) Manning and Edward Snowden,

malicious insiders are responsible for significant breaches and stolen data that harm national

security. Nitro substantially reduces the risk of such occurrences.

       135.    Factor 4 also required DoD to assess each offeror's proposed approach for (i)

"[h]ighly granular attribute and role-based access control configuration, and the ability to assign

permissions to roles IA W technical policies"; (ii) "[ o]bject and resource access control

management, including data and resource tagging"; and (iii) "[t]oken-based and time-limited

federated authentication allowing a user to assume a role within the cloud environment at all

classification levels." RFP at 85.



                                                 67
       136.    As with its information security evaluation, however, DoD failed to recognize

AWS's significant access control capabilities and their clear superiority to Microsoft's offerings.

               a.         In its proposal, A WS explained




                     I.




                    I




               b.         AWS's proposal also explained how AWS could leverage its data and

resource tagging capabilities




                                                  68
                 C.




          137.   Although DoD determined                                                to information

security and access controls, neither the TEB nor the SSEB credited A WS for the substantial

benefits discussed above,

                                                        See generally TEB Factor 2 IPR Report; SSEB

Report.                                                                         . See generally SSAC

Report.

          138.   DoD's failure in this regard is all the more significant given that Microsoft's access

control capabilities are significantly less comprehensive than A WS's and, more importantly, do

not satisfy the RFP's requirements. According to Microsoft's online technical documentation and

reputable industry reports, Microsoft does not have the capability to tag resources and users for

access control policies. Microsoft therefore lacks the capability to perform "[ o]bject and resource

access control management, including data and resource tagging." See RFP at 85.

          139.   Had DoD recognized the substantial information security and access control

benefits that the A WS solution offered, and similarly acknowledged the significant deficiencies in

Microsoft's proposed approach, it could not have
                                                                                         -
                                                   69
FACTORS

       140.    DoD erroneously determined                                                    under

Factor 5, Application and Data Hosting and Portability.        SSDD at 7.     In particular, DoD

misevaluated AWS' s proposed third-party marketplace offerings and overlooked strengths in

A WS' s proposal, including those the Agency explicitly recognized during its initial evaluation of

AWS's proposal.

       DoD Misevaluated A WS 's Third-Party Marketplace Offerings

       141.    Factor 5 required DoD to evaluate each offeror's proposed approach to application

and data hosting and application and data portability. RFP at 96. In this regard, the SOO required

offerors to "[p]rovide the ability to rapidly and securely deploy CSP and third-party platform and

software service offerings from an online marketplace with baseline template configurations."

S00 at 10.

       142.    In response to this requirement, AWS's proposal i n c l u d e d - - third-

party marketplace offerings available at the time of award from over-

- · See AWS FPR, Volume III, Tab Eat 3. AWS's offerings included third-party software

in unclassified cloud environments-where A WS runs the largest cloud software marketplace in

the world-and in classified cloud environments including--where A WS not only has a

marketplace, but is the only cloud service provider with an authorization to operate. A WS listed

each of these offerings in its JEDI price catalog related to CLINs x00I and x002. AWS FPR,

Volume VI, Tab C.




                                                70
       143.   Neve1theless, when considering AWS's proposal, DoD e1rnneously determined



                SSAC Report at 7-8.

       144.   DoD apparently reached this inco1rect conclusion based on




                                        Id.   DoD incorrectly interpreted




               Id. at 8.

       145.   DoD's conclusion, however, ignores AWS's exJ)licit explanation o f t h e -

                                   which states:




       146.   In other words, AWS's proposal made clear that




And, in fact, these Marketplace offerings plainly were included in AWS 's proposed price catalogs

and available to DoD at award. See AWS FPR, Volllll1e VI, Tab C.




                                               71
       147.    DoD's contrary interpretation is especially problematic given A WS only included

the information                                      to comply with DoD's instructions during oral

discussions.   During oral discussions, A WS and DoD discussed how to balance the RFP's

requirements for commercial parity and security.




       148.



                                                                -this is equally true whether the

underlying cloud provider is A WS or Microsoft. Thus, consistent with DoD's instructions, A WS




a requirement which would be nonsensical with regard to third-party marketplace offerings. A WS

FPR, Volume VI, Tab A at 5. This is especially so given the RFP required offerors to include at

least 90% of their free marketplace offerings-which are even less likely to comply with all of the

RFP's security requirements-as part of their JEDI solution. SOO at 10.

       149.    DoD therefore did not have a rational basis for concluding AWS could not provide

its proposed third-party marketplace offerings at the time of award.




                                                72
       DoD Overlooked Strengths in A WS 's Proposal, Including Those Previously Recognized

       150.    In its strained attempts to identify differentiators that justified award to Microsoft,

DoD failed to recognize actual discriminators that demonstrated A WS's technical superiority. For

example:

               a.     A WS -           ■ Content Delivery Network Points of Presence. A WS

FPR, Volume III, Tab A at 13. These Points of Presence allow A WS to bring cloud-hosted content

closer to DoD users around the world, thereby allowing for quicker download and access. In

addition, they enable DoD users to upload content to the cloud faster.

               b.     A WS proposed                                                      ,AWSFPR,

Volume III, Tab E at 11, ensurmg service availability and reliability on a scale not even

contemplated by the RFP,

               c.     A WS offered the most advanced graphics processmg units and high-

memory compute instance types available in the commercial marketplace, including: General

Purpose, Memory Optimized, Storage Optimized, Computer and Network Optimized, and Higher

Performance Computer Acceleration. AWS FPR, Volume III, Tab Eat 4. In particular, to support

DoD's diverse mission needs, AWS proposed




-

                                                 73
Id. These technologies are critical for next generation machine learning and artificial intelligence

applications.

                d.     A WS proposed



                                                                             It supports integration

with existing on-premises workloads, cloud-native applications, and hybrid implementations to

run on premises and scale in the cloud. Id.

                e.     A WS's proposed portability plan provides detailed instructions on how to

move data between A WS cloud environments and other hosting environments.



                                         The proposed migration plans were comprehensive and

                                                74
required by the RFP and the DoD's Enterprise Cloud Strategy. Id. at 1, 13, 16. AWS's superior

understanding ofDoD's desire to be able to move data between on-premises hosting environments,

other cloud providers, and the tactical edge dramatically lowers the risk of contract non-

performance and give's DoD control of its data.

               f.     A WS proposed robust Relational Database Services ("RDS") that far

exceed the SOO's requirement that offerors propose a "managed database and noSQL services at

the scale and speed to meet mission requirements, including both object storage options and

managed databases." SOO at 8. Specifically, A WS proposed




These offerings provide multi-availability zone replication and resiliency as well as cross-region

replication options. See id. Moreover, -          provides the ability to analyze data at the exabyte

level, which is greater than the petabyte scale DoD required. Id. at 75.

               g.     DoD unreasonably failed to recognize the above features and assign

corresponding strengths to A WS's proposal.

       151.    In addition, in its January 11, 2019, evaluation of A WS 's initial proposal

submission for Factor 5, DoD identified several strengths that DoD inexplicably excluded from

the final IPR evaluation conducted in August 2019, which DoD affirmed and incorporated in its

September 2019 evaluation of A WS' s FPR. These strengths and risk reductions in AWS' s initial

proposal included the following:



                                                75
               a.      The TEB assessed AWS a strength because




                                                                           The TEB provided no

explanation for its failure to assess a similar strength in the final evaluation. See generally TEB

Factor 5 IPR Report.

               b.      The TEB assessed A WS a strength because A WS proposed -

                                                      can also be used to store configurations and

provision infrastructure," which allows for "flexibility based on user preference and can be used

to launch and manage Offeror services." TEB Factor 5 Initial Evaluation at 6. In particular, the

TEB noted                            "allows for the Offerors services to rapidly be provision[ ed]

usmg                                        ." Id. A WS also discussed

in its FPR, but the TEB failed to carry forward the previously assessed strength. See A WS FPR,

Volume III, Tab Eat 5-6; see generally TEB Factor 5 IPR Report.

               c.      The TEB assessed A WS a strength for its proposed use of a "mature

marketplace," which "allows for the sharing of pre-built and pre-approved configurations." TEB

Factor 5 Initial Evaluation at 6. The TEB found that this feature "further decreases the amount of

time needed to configure databases" and "significantly increases the speed and rapid nature of

database deployments." Id. Furthermore, the TEB noted that the marketplace offers "third party

services which enables the rapid procurement and deployment of third party services that will

integrate with the Offeror's services." Id. Even though AWS discussed its mature marketplace in



                                                76
its FPR, the TEB inexplicably abandoned the previously assessed strength. See A WS FPR,

Volume III, Tab Eat 2-3; see generally TEB Factor 5 IPR Report.

               d.      A WS did not revise its IPR in any way that would justify DoD's omission

of the above strengths in the final evaluation. FPR Factor 5 Re-Affirmation at I ("The IPR is

nearly identical to the final proposal revision (FPR) submitted by A WS.").

       152.    But for the evaluation errors described above, A WS would have received        I
-
FACTOR6

       153.    DoD erroneously determined that

-       under Factor 6, Management and TO 001. SSDD at 7. In particular, DoD (I) unreasonably

evaluated a prior, superseded version of A WS's proposal; (2) incorrectly concluded A W S -

                                                      ; and (3) ignored A WS's proven and tested

management approach,                                             , where A WS operates hyperscale

data center clusters at both the Top Secret and Secret levels.

       DoD Improperly Evaluated a Prior Version o[AWS's Proposal

       154.    The SOO required offerors to propose unclassified services in three physical data

centers within 30 days of contract award. SOO at 9.

       155.    AWS's FPR (as well as its IPR submission on July 15, 2019) states: -




                                                 77
                                                                 An A WS Region is a geographic

location where A WS provides multiple, physically separated and isolated Availability Zones-

each of which consists of one or more distinct data centers. Id. at 4.




           156.   Nevertheless, the TEB erroneously found that A WS had proposed -

                                                                                     Based on this

finding,

                                                                  , the TEB concluded that -

                         Id. In actuality, A WS's proposal exceeded the "standard"



           157.   The TEB's conclusion suggests the TEB not only ignored the AWS Region

structure described in A WS's proposal, but also evaluated a prior version of AWS's proposal.

Specifically, earlier versions of AWS's proposal indicated it would only provide

                  . However, beginning with A WS's IPR submitted on July 15, 2019, through its

FPR, A WS clearly proposed



           158.   Under a rational evaluation, DoD would have evaluated AWS's FPR, recognized

that AWS proposed to substantially exceed the SOO's requirement for three unclassified data

centers,
                                             -
                                                 78
       ~ e t e r m i n e d AWS


       159.   DoD's evaluation also was e1rnneous because it iI1co1Tectly concluded-

                                                                , and then treated this arbitrary




       160.   The SSAC Report states that A WS offered



                                             . Both of these statements are demonstrably false.

              a.                     _ , AWS 's proposal states:




              b.




       161.



       DoD U11reaso11ably Disco1111ted Affl'S's Proven Ma11ageme11t Approacll

       162.   Finally, DoD inexplicably concluded




       163.   Factor 6 required DoD to evaluate five areas: (1) program management approach,

(2) timely remediation of issues, (3) risk management process, (4) quality assurance surveillance

                                               79
plan, and (5) prope1ty management system. See RFP at 97. Additionally, as part of the evaluation

for Factors 2-7, DoD was to evaluate the degree to which the proposal reflects au understanding

of the Govemment's requirements in Sections 3 and 5 of the SOO. See id. at 94.

       164.     A WS 's program management approach leveraged its extensive experience as ■

                                , which is the only contract remotely comparable to the size and

complexity of the JEDI Contract, to demonstrate its capabilities in each of the five areas noted

above. See, e.g., A WS FPR, Volume ill, Tab Fat 1. As a result, A WS offered DoD a proven and

tested approach for completing contract requirements on scbedule and in accordance with the JEDI

Contract's quality and performance metrics-including the ability to operate securely, scaleably,

and successfully at the Secret and Top Secret levels. See id.

       165.     In stark contrast, Microsoft, which has never perfom1ed a cloud infrastrncture

contract similar to JEDI, necessarily proposed a program management approach that is tl1eorelical

and unproven.

       166.     Yet, when evaluating proposals, DoD bizarrely concluded

                                 under Factor 6. SSDD at 6, 8. This evaluation judgment was

arbitrary and capricious, especially given DoD did not even acknowledge

                   when evaluating                                           See general~v TEB

Factor 6 IPR Report; SSEB Report at 25-26; SSAC Report at 8.                   has characterized

the AWS cloud as the "best decision we've ever made," 48 and has stated that it "has transformed




48                               : Private Cloud "The Best Decision We've Ever }!fade," FCW


                                                80
our ability to build new capabilities and has transformed our ability to solve seemingly impossible

intelligence problems," it is unfathomable DoD would overlook this aspect of AWS's offering. 49

        167.
                                                                                         -
FACTORS

        168.


-                              SSDD at 6. Specifically, DoD overlooked objective evidence showing

that A WS's cloud solution demonstration far exceeded the Agency's stated requirements.

        169.    Factor 8 required offerors to demonstrate their JEDI cloud solutions using their

proposed approaches for Factors I through 6 in different demonstration scenarios. See RFP at 97.

DoD was to evaluate "the extent to which the scenarios are successfully demonstrated using the

proposed approach for Factors I through 6." Id. DoD informed the offerors of the demonstration

date and the four scenarios that would be performed 24 hours in advance of the demonstration

activity day. See id. at 87.

        170.    DoD initially planned only one demonstration activity.      However, because of

numerous Government-caused failures in the first demonstration activity on April 23, 2019, DoD

notified A WS that it would hold a second demonstration activity and amended the RFP

accordingly. The amended RFP required DoD to give more weight to the second demonstration




                                                  81
activity "in light of it reflecting each offerors ability to best showcase their offerings." Id. at 97.

The second demonstration activity occurred on May 9, 2019. Both demonstrations involved the

following four scenarios:

               a.      Scenario 8.1 - Test Suite: The Government was to run a set of automated

tests using offeror-provided code on both the public, commercial cloud environment, and the

offeror's proposed portable tactical edge device, interacting with the existing and publicly

available APL A successful implementation would programmatically create, destroy, and interact

with remote resources as required by each test case. See First Demonstration Procedures at 2-3;

see also Second Demonstration Procedures at 3-5.

               b.      Scenario 8.2 - Scaling Application:           The offeror was required to

demonstrate the creation and configuration of an automatically scaling pool of virtual machines

through its Graphical User Interface. It was then required to deploy a simple application to the

pool, with incoming traffic evenly distributed amongst the virtual machines in the pool.             A

successful implementation would result in a dynamically created pool of compute resources to

respond to incoming requests from a client. As the client increased the number of incoming

requests, the number of compute nodes was to seamlessly increase as the number of incoming

requests exceed the predefined maximum requests per node. As the test client reduced usage, the

shutdown of excess nodes was to be seamless. See First Demonstration Procedures at 3-4; see

also Second Demonstration Procedures at 5-7.

               C.      Scenario 8.3 - Tactical Edge Device Testing: Offerors' proposed portable

tactical edge devices were to undergo basic tests surrounding their durability and interface with

the cloud environment in both connected and disconnected mode. These tests were to focus on

the ability of the device to process and stream data. A successful implementation would allow the



                                                  82
application to save data to the offeror' s tactical edge device despite network disconnect/reconnect,

being physjcally dropped, and being exposed to environmental factors, while opportunistically

syncing that data to the offeror's cloud environment. The test suites in Scenario 8.1 were to run

against the proposed portable tactical edge device. See First Demonstration Procedures at 4; see

also Second Demonstration Procedures at 7-10.

               d.      Scenario 8.4 - Security Demo: Offerors were to set and modify users, roles,

and Access Control Lists, both through the standard user interface, as well as through the APL

Offerors also were required to display the capability to tag files appropriately, add or modify a

policy to restrict access based upon tags, and automatically add tags to new objects created. A

successful implementation for this scenario would demonstrate that the security controls and user

Access Control Lists work as expected and audit logs are generated in the course of any access,

security, and API events during the exercise, both through the Graphical User Interface and

interactively through a command line interface. See First Demonstration Procedures at 4-5; see

also Second Demonstration Procedures at 10-13.

       171.



                DoD failed to evaluate the extent to which A WS successfully demonstrated its

technical approach for Factors 1 through 6, as required by the RFP. See RFP at 97.

               a.      Under Scenario 8.1, offerors were required to demonstrate a compute value

of 120 seconds. SOO at 14 (Table 5.1); TEB Factor 8 Evaluation at 5. AWS far exceeded this

requirement by demonstrating                                                            -

- · TEB Factor 8 Evaluation at 5. Similarly, offerors were required to demonstrate an

object storage value of 120 seconds. SOO at 14 (Table 5.1). AWS far exceeded this requirement



                                                 83
by reporting                                                                               . TEB

Factor 8 Evaluation at 5.

               b.     Under Scenario 8.3, offerors were required to demonstrate successful

execution of cloud services.     See Second Demonstration Procedures at 8.           During both

demonstrations, A WS clearly demonstrated this capability,




                                                                                    Although the

TEB noted this point, it failed to credit A WS's breadth and depth of services, which exceeded the

minimum requirement for Scenario 8.3. Scenario 8.3 also required offerors to demonstrate a

compute value and an object storage value of 120 seconds or less, and a block storage value of 60

seconds or less. SOO at 14 (Table 5.1); TEB Factor 8 Evaluation at 15. During the second

demonstration, AWS demonstrated

               . See TEB Factor 8 Evaluation at 15. AWS also demonstrated

                                                                        . See id. Finally, A WS

demonstrated a block storage value

- · See id.
               c.      Under Scenario 8.4, DoD required offerors to create Windows 10 virtual

machine instances using the default configuration, with remote access available. See Second

Demonstration Procedures at 13. A WS demonstrated the use of                             to access

remotely the Windows Virtual Machine created during the demonstration without "using direct

access to a running remote access daemon," which the TEB acknowledged as a Strength. TEB

Factor 8 Evaluation at 19. However, the TEB failed to acknowledge A WS's ability to leverage   I

                                               84
                    to connect remotely with Windows virtual machines even with no network

connectivity to the enclave. See id. In addition, Scenario 8.4 required offerors to demonstrate a

capability to revoke a session that was currently in progress.       See Second Demonstration

Procedures at 12. AWS not only demonstrated this capability, but also the ability to revoke all

active sessions for an identity immediately, which the TEB ignored. See TEB Factor 8 Evaluation

at 16-19.

         172.




         173.



        F.       At the Eleventh Hour, the Government Changed Course Under Pressure from
                 President Trump

         174.    While DoD evaluators were preparing the IPR Reports for the various evaluation

factors described above, President Tnnnp, senior DoD appointees, and others continued to exert

their influence on DoD's source selection process, resulting in abrupt inegularities in the final

stages of the procurement process.

         175.    As late as the end of July 2019--despite the very public comments by the

Commander in Chief and others questioning the procurement process, see supra~ 91-97-DoD

maintained that it was planning to announce its final award decision in August 2019. so




50   Aaron Gregg, Pe11tago11 issues forceful rebuke of Oracle as debate over a massive federal
     co1ltract    turns        caustic,      Wash.       Post       (July      30,      2019),
                                               85
        176.    However, a few days later, on August 1, 2019, DoD abruptly reversed course when

newly appointed Secretary of Defense Mark Esper (who was sworn in just one week earlier to

replace Secretary Mattis) announced that he had ordered a re-review of the JEDI RFP process, and

that DoD's award decision would be placed on hold until he completed his examination. He

explained that he was taking a "hard look" at JEDI because "I've heard from folks in the

administration, so I owe, as the new guy coming in, a fresh look at it, study it, make sure I

understand all the different factors." 51 This reversal came shortly after Senators Rubio and

Johnson sent letters to Secretary Esper urging him to postpone the award of the JEDI Contract. 52

The next day, Secretary Esper was even more explicit about the role of the Commander in Chief,

stating that he "heard from people from the White House" and that JEDI "deserves an honest,

thorough look." 53

        177.    Once the JEDI Contract award was under examination, Donald Trump, Jr., tweeted

several times, bluntly, that AWS would not be awarded the JEDI Contract upon completion of the



     https://www.washingtonpost.com/business/2019/07/30/pentagon-issues-forceful-rebuke-
     oracl e-debate-over-massi ve-federal-contract-turns-caustic/.
51
     Aaron Gregg, After Trump cites Amazon concerns, Pentagon reexamines $10 billion JEDI
     cloud contract process, Wash. Post (Aug. 1, 2019), https://www.washingtonpost.com/
     business/2019/08/01/after-trump-cites-amazon-concerns-pentagon-re-examines-billion-jedi-
     cloud-contract-process/; see also Frank Konkel, JEDI Contract on Hold for Defense Secretary
     Review, Nextgov (Aug. 1, 2019) https://www.nextgov.com/it-modernization/2019/08/jedi-
     contract-hold-defense-secretary-review/158887/.
52
     Letter from Senator Marco Rubio to Honorable Mark Esper, Secretary of Defense (July 25,
     2019),           https://www.rubio.senate.gov/public/_ cache/files/04fdc9b6-34dl-4 725-97e5-
     8d5faa5e055e/E069C0B453AD2BA467894E98889B3D62. l 9 .07.25-senator-rubio-ltr-to-
     secdef-re-jedi-cloud.pdf; Letter from Senator Ron Johnson to Honorable Mark Esper,
     Secretary of Defense (June 24, 2019), https://www.hsgac.senate.gov/imo/media/doc/2019-06-
     24%20RHJ%20to%20DOD%20re%200IG%20Investigation%20-%20JEDI.pdf.
53
     Secretary of Defense Esper Media Engagement En Route to Sydney, Australia (Aug. 2, 2019),
     https ://www.defense.gov/Newsroom/Transcripts/Transcript/Article/1925 072/secretary-of-
     defense-esper-media-engagement-en-route-to-sydney-australia/.

                                               86
re-review process, stating that "[e]ven the democrats aren't buying the BS coming from Bezos

Inc." 54 and confirming that it "[s]ounds like the corrupt #BezosBailout is in trouble." 55 Around

the same time, CNN reported that President Trump wanted to "scuttle" the process. 56

        178.   Secretary Esper's appointment as Secretary of Defense in the summer of 2019

marked an important turning point in DoD's analyses of the evaluation factors. For instance,

TEB 's initial evaluations of A WS from early 2019 readily acknowledged significant strengths in

AWS's proposal, particularly for Factors 2 and 5. But in TEB's subsequent evaluation reports of

A WS' s IPR in August 2019-amidst President Trump's escalating attacks on Mr. Bezos, Amazon,

and the Washington Post and following President Trump's and Secretary Esper's calls for an

examination into the JEDI evaluation process-those previously identified strengths were

noticeably absent, without any explanation for their omission. The substance of these evaluations

was re-affirmed in September 2019. Factor 2 FPR Re-Affirmation; Factor 5 FPR Re-Affirmation.

Thus, the SSEB, SSAC, and ultimately the SSA, relied on these IPR Reports in reaching their

decision to award the JEDI Contract to Microsoft.

        179.   This abrupt change in course reflects the culmination of President Trump's

improper interference and express direction to officials responsible for overseeing the award of the

JEDI Contract-which began with President Trump's claimed firing of former Secretary Mattis in




54
     Donald Trump Jr. (@DonaldJTrumpJr) Twitter (Aug. 6, 2019, 4:58 PM), https://twitter.com/
     donaldjtrumpjr/status/1158890185226149893.
55
     Donald Trump Jr. (@DonaldJTrumpJr) Twitter (Aug. 13, 2019, 6:57 AM), https://twitter.com/
     donaldjtrumpjr/status/1161275522103595008.
56
     Michael Warren, Exclusive: Inside the effort to turn Trump against Amazon's bid/or a $10
     billion contract (July 27, 2019), https://www.cnn.com/2019/07 /26/politics/oracle-trump-
     amazon-defense-contract-conspiracy/index.html ?no-st= 15641 77 550.

                                                87
January 2019, and his replacement of DoD key leadership with individuals, like Secretary Esper,

who were uniquely susceptible to pressure from the Commander in Chief.

        180.     Both Secretary Esper and the senior DoD political appointees overseeing the JEDI

Contract procurement were specifically selected by the President and their nominations and

appointments were dependent on his continued goodwill (widely reported to change frequently).

        181.     Dana Deasy, DoD's CIO, was in charge of all aspects of the JEDI program,

including the procurement process and the Cloud Computing Program Office, starting in June

2018.      Mr. Deasy served in that position for nearly a year until President Trump formally

nominated Mr. Deasy for his position in June 2019. 57 Soon after, while Mr. Deasy's nomination

was pending, the President began to call publicly for an investigation into the JEDI procurement

process.

        182.     Given President Trump's public comments and his record of dismissing political

appointees with whom he disagrees, Secretary Esper and Mr. Deasy undoubtedly understood that

they served at the pleasure of a President who had made clear that he did not want A WS to win

the JEDI Contract, and they had personal incentives to ensure that the President's command was

carried out. Indeed, the President's direct control over the continued employment and potential

promotion of these and other high-level decision makers-both in the military and in civilian

service-would have been readily apparent to them, as would the risks of going against the

President's stated wishes.

        183.     In addition, the very nature of DoD acquisitions and the structure and makeup of

the Washington Headquarters Services Acquisition Directorate made it more likely that the



57
     Congress made the position of DoD CIO a Senate-confirmed post beginning in January 2019,
     via the 2018 National Defense Authorization Act.

                                                88
President, as Commander in Chief, had an outsized influence on the SSA. The Washington

Headquarters Service exists to serve the procurement needs of the Office of the Secretary of

Defense, which leads the executive department most directly under the control of the President as

Commander in Chief, whose desires generally become priority mission objectives for DoD. Any

bias stemming from the President, whether expressed publicly or privately, would have been

understood by, and would have inherently impacted, these political appointees, who, in turn,

supervised the contracting officer, managed the SSAC, and imparted the President's bias to the

SSAC.

        184.   The SSA and members of the SSAC were thus subject to the President's influence

on multiple fronts. There were the public statements of the President, their Commander in Chief,

detailed above. There also was the certainty that any recommendation they made would be subject

to scrutiny from the highest levels and that their choice would be much more likely to meet with

approval if it pleased their superiors. No matter how much the SSA and the members of the

SSAC may have tried to discharge their duties impartially, or DoD attempted to shield the

decision-makers   from    their   Commander         m   Chiefs   directives,   no    amount    of

compartmentalization, segregation, or anonymization could have isolated the decision-makers

from the clear and unmistakable conflict of interest that stemmed from the very highest levels of

power in DoD and that were made known to all. As recent events demonstrate, the President is

perfectly willing to go after those with whom he disagrees, even within his own Administration.

That dynamic cannot have been lost on the JEDI award decision-makers.

        G.     Contract Award and Debriefing

        185.   The SSEB issued its Executive Summary Report on September 27, 2019, the Price

Evaluation Board issued its final Report on September 29, 2019, and the SSAC made its source

selection recommendation to the SSA on October 3, 2019.

                                               89
        186.   On October 17, the SSA signed the SSDD, "determin[ing] that Microsoft's

proposal represents the best value to the Government" and selecting "Microsoft Corporation[] for

award of the Joint Enterprise Defense Infrastructure Cloud contact." SSDD at 9. DoD had

privately made its award decision, but the public would wait over a week to learn of the

Government's miscarriage of the procurement process.

        187.   Before DoD's flawed award decision was publicized, on October 22, 2019,

Secretary Esper announced unexpectedly that he was recusing himself due to a personal conflict

of interest arising out of his son's employment with IBM. 58 By this time, however, Secretary

Esper's son had been employed with IBM for more than six months 59-and in fact DoD had

already eliminated IBM's proposal for the JED I Contract since as early as April 2019, when DoD

announced that AWS and Microsoft were the only remaining candidates for the award. 60

        188.   On October 25, 2019, DoD announced that the JEDI Contract had been awarded to

Microsoft, to the shock of industry analysts and experts-and indeed, even to Microsoft itself,

which was not prepared to issue a statement until the following day. 61 The SSA's decision




58
     Statement From Chief Pentagon Spokesperson Jonathan Rath Hoffman on DOD Cloud
     Update, Dep't of Defense (Oct. 22, 2019), https://www.defense.gov/Newsroom/
     Releases/Release/Article/ 199 565 0/statement-from-chief-pentagon-spokesperson-jonathan-
     rath-hoffman-on-dod-cloud-u/.
59
     Aaron Gregg, Defense Secretary Mark Esper Recuses Himself from Massive Pentagon
     Contract,    Citing    Son's    Employment,      Wash.   Post     (Oct.   22,    2019),
     https://www.washingtonpost.com/business/2019/10/22/defense-secretary-mark-esper-
     recuses-himself-pentagon-cloud-review-citing-sons-employment/.
6
 ° Karen Weise, Amazon and Microsoft Are 2 Finalists for $10 Billion Pentagon Contract, N. Y.
     Times (Apr. 10, 2019), https://www.nytimes.com/2019/04/10/technology/amazon-microsoft-
     jedi-pentagon.html.
61
     Emily Birnbaum, Amazon Poised to Escalate Pentagon "War Cloud" Fight, The Hill (Oct. 29,
     2016),   https://thehill.com/policy/technology/467827-amazon-poised-to-escalate-pentagon-
     war-cloud-fight.

                                              90
indicated!vficrosoft's proposal presented the best value to the Government

                                      . SSDD at 9. In paiiicular, the SSA found that although




- · Id. at 7-8. Moreover, under Factor 9, Price, the SSA noted that Microsoft's total
evaluated price was                                                                        Id. at 9.

Accordingly, the SSA selected Microsoft for award of the JEDI Contract

       189.     Despite the significance of the JEDI procurement-which has been years in the

making and has a potential ceiling of $10 billion-on the same day DoD announced its award

decision, DoD provided AWS a written debriefing detailing the evaluation results and advised

A WS that it had two business days to submit written questions based on the debriefing, foreclosing

the opportunity for A WS to request and receive an in-person debriefing. As a result, A WS was

forced to abide by DoD's instruction to submit mitten debriefing questions in sho1i order.

        190.    On October 29, 2019, AWS timely submitted 265 detailed written debriefing

questions, as allowed by 10 U.S.C. § 2305(b)(5)(B)(vii), (C), in the hope that DoD would provide

in writing what it refused to provide in person. AWS 's debriefing questions sought a more detailed

explanation for how DoD reached its llllexpected decision to award the JEDI Contract to

Microsoft. 62




 62




                                                91
        191.     In violation of applicable procurement regulations, DoD failed to provide

"'reasonable responses to relevant questions about whether source selection procedures contained

in the solicitation, applicable regulation, and other applicable authorities were followed." See 48

C.F.R. § 15.506(d). In fact, DoD did not provide a substantive response to a single one of the 265

questions that A WS timely submitted, leaving A WS in the dark about DoD's explanations for the

substantive issues for which A WS raised concern in the debriefing questions. Instead, DoD

subjectively determined which of AWS's questions were "relevant" and then blithely stated that

"[a]ll 265 questions were reviewed and reasonable responses are provided herein for relevant

questions, in accordance with FAR 15.506."             What followed, however, was auythiug but

reasonable, with DoD providing broad, overarching responses that generically referenced tlie

Agency's evaluatiou reports, aud utterly failed to provide a single substantive response.

                                      CLAIMS FOR RELIEF

                                         COUNT ONE
               (Failure to Evaluate A WS Proposal in Accordance with Solicitation)

        192.     Plaintiff repeats and inco1porates by refereuce each a11d every allegation contained

in the preceding paragraphs as if fully set forth herein.

        193.     Govemment officials are required to conduct procurements in a manner consistent

will the te1ms of tlie RFP and applicable law and regulations. Failure to do so is, by definition,

arbitrary and capricious. Evaluation judgments that are unsupported in the administrative record




                                                  92
are arbitrary and capricious and cannot form the basis of a valid award decision. 5 U.S.C. §

706(2)(A).

        194.   DoD determined
                                                                                        -
a superficial evaluation that deviated from the RFP's stated criteria for obtaining a cutting-edge

and market-leading cloud solution.

        195.   The RFP's SOO clearly outlined DoD's desire for a modem cloud solution capable

of scaling alongside increasing threats to the warfighter:

               To maintain our military advantage, DoD requires an extensible and
               secure cloud environment that spans the homeland to the global
               tactical edge, as well as the ability to rapidly access computing and
               storage capacity to address warfighting challenges at the speed of
               relevance.      These foundational infrastructure and platform
               technologies are needed for DoD to capitalize on modern software,
               keep pace with commercial innovation, and make use of artificial
               intelligence and machine learning capabilities at scale.

SOO at 1.

        196.   Moreover, in its report to Congress on the JEDI procurement, DoD acknowledged

that:

               Battlefield advantage is driven by who has access to the best
               information that can be analyzed to inform decision making at the
               point and time of need. This advantage cannot be achieved at scale
               in the absence of an enterprise approach to adopting cloud
               technology. The 2018 National Defense Strategy (NDS) makes
               clear that the DoD needs a more lethal, resilient, and innovative
               Joint Force to preserve peace through strength and prevail in
               conflict when necessary.          The NDS therefore prioritizes
               investments in cyber security, resilience, and the continued
               integration of cyber capabilities into the full spectrum of military
               operations. Rapidly providing the DoD access to underlying
               foundational technologies, like cloud computing and data storage,
               on a global scale is critical to national defense and preparing the
               DoD to fight and win wars.

Combined Congressional Report to Congress at 4 (emphasis added).



                                                 93
        197.   A WS's cloud solution exceeded the high bar set by DoD for JEDI. AWS offered

advanced cloud capabilities that Microsoft could not match. These capabilities included AWS's

leading Nitro architecture-A WS' s purpose-built, hardware-based virtualization tool that provides

exceptional security and performance for DoD users. Moreover,

                     , A WS offered a proven approach for developing and deploying cloud

infrastructure and platforms at scale, which drastically reduces the risk of unsuccessful

performance of the JEDI procurement. A WS's tactical edge computing devices are already being

used on the battlefield by DoD. No other offeror-including Microsoft-has remotely similar

capabilities or experience.

        198.   Despite A WS's more advanced technology-which is widely recognized in the

industry as market-leading-DoD somehow concluded

                                        . As detailed above, this determination was arbitrary and

capricious, contrary to the RFP, and without basis in the evaluation record. Under a rational

evaluation,                                                                        , and DoD would

have awarded the JEDI Contract to AWS.

                                      COUNT TWO
          (Failure to Evaluate Microsoft Proposal in Accordance with Solicitation)

        199.   Plaintiff repeats and incorporates by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

       200.    DoD also evaluated Microsoft unreasonably, repeatedly deviating from the RFP's

evaluation criteria in order to indicate falsely that Microsoft's cloud solution is in the same league

as A WS's market-leading solution. See 5 U.S.C. § 706(2)(A).

       201.    Under Factor 2, DoD deviated from the RFP' s stated criteria for hypervisor security

and performance by failing to recognize that Microsoft's Hyper-V solution does not provide


                                                  94
sufficient security for DoD's sensitive operations.       As discussed above, unlike A WS's

revolutionary and proprietary Nitro hypervisor, Microsoft's Hyper-V is not purpose-built, not

hardware-based, and not invulnerable to hypervisor breakout attacks. DoD acknowledged as much

when finding that A WS's Nitro solution is "extraordinary," "beyond the industry-standard

approach," and deserving of "special note." TEB Factor 2 IPR Report at I; SSEB Report at 4-5.




       202.    Under Factor 3, DoD again deviated from the evaluation criteria and engaged in

disparate treatment.




                But rather than finding Microsoft un-awardable based on this deficiency, DoD

allowed Microsoft to proceed unscathed.




       203.    Under Factor 4, DoD arbitrarily concluded that

- w i t h respect to information security and access controls. A critical component of

information security for the JEDI Contract is the security of offerors' proposed hypervisors. RFP

at 82-83. As noted above, Microsoft's Hyper-V solution lags behind AWS's Nitro in terms of

security, as shown by the fact that the National Institute of Standards and Technology National

Vulnerability Database has documented numerous Common Vulnerabilities and Exposures entries



                                               95
for Hyper-V over the last three years. Moreover, given Microsoft's Hyper-Vis 1101 purpose-built,

1101     hardware-based, and not invulnerable to hypervisor breakout attacks, it celiainly is 11ot as

secure as A WS 's Nitro hypervisor.            Fmthennore, as both Microsoft's online technical

documentation and reputable industry repotts indicate, Microsoft does not have the capability to

tag resources and users for access control policies. 63 Microsoft's access control capabilities

therefore fail to satisfy the RFP's requirements.

            204.    Under Factor 5, DoD erroneously concluded

                                                                 The SSAC Report reveals that this

determination was based solely on DoD's mistaken conclusion that

                                                                            SSAC Report at 7-8. As

discussed above, however, this is patently untme. In reality, Microsoft's offering is inferior to

AWS's in material ways. For example, AWS's proposal



-              See AWS FPR, Volume m, Tab Eat 3. These offerings included third-party software

in unclassified cloud environments-where A WS runs the largest cloud software marketplace in

the world-and in classified cloud environments-where A WS not only has a marketplace, but is

t/1e 01tly c/011d service provider wit/1 a11 a11t/10rizati011 to operate.

            205.    Under Factor 6, DoD arbitrarily determined



                                                                                          Microsoft,




    63
         National      Vulnerability    Database,      Nat'l   Inst.    of     Stds.   &    Tech.,
         https://nvd.nist.gov/vuln/search/results?fonn_type=Basic&results_ type=ove1view&query=hy
         per-v&search_type=all.

                                                    96
however, does not have experience working with                                                   or

DoD Combatant Commands, operating classified cloud environments, or hosting classified data at

the scale contemplated by JEDI. In fact, A WS is the only offeror with such experience, having

performed the

                  AWS therefore has industry-leading cloud capabilities.          Indeed, A WS's

performance                        was one of the primary drivers of industry concerns that DoD

designed the JEDI Contract specifically for AWS, because the industry believed AWS, -

                                 , was ahead of the rest of the industry with respect to hosting

classified data. DoD could not have reasonably concluded that Microsoft, which lacks experience

operating classified cloud environments and hosting classified data, proposed a more effective

performance approach than A WS.

       206.     Finally, under Factor 8, DoD erroneously concluded that

                                                     . That is impossible. For example, the Factor

8 demonstration instructions for Scenario 8.3 required offerors to perform tests on their portable

tactical edge devices related to their durability and interface with the cloud environment in both

connected and disconnected mode. See Second Demonstration Procedures at 7-10. -



                        Microsoft therefore could not have demonstrated the required testing.

Similarly, the Factor 8 demonstration instructions for Scenario 8.4 explicitly required offerors to

demonstrate, among other things, access-based controls for tagging.        Second Demonstration

Procedures at 12. As noted above, however, both Microsoft's online technical documentation and

reputable industry reports indicate Microsoft does not have the capability to tag resources and




                                                97
users for access control policies. Microsoft could not have demonstrated what it affirmatively

lacks the capability to do, and it therefore deserved a lower rating under Factor 8.

       207.    The above examples of the Agency's erroneous and disparate evaluation merely

scratch the surface of the unexplainable evaluation errors in the record. There are numerous other

unsupported evaluation judgments that improperly skewed the best value source selection decision

in Microsoft's favor.

       208.




       209.    A WS was prejudiced by DoD's failure to evaluate Microsoft's proposal in

accordance with the RFP. Had DoD evaluated Microsoft's proposal in accordance with the terms

of the solicitation, it would have determined that A WS's proposal demonstrated the best value to

the Government and awarded the contract to A WS.

                                       COUNT THREE
                        (Wrongful Deprivation of Competitive Advantage)

       210.    Plaintiff repeats and incorporates by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

       211.    Throughout the JEDI procurement process, DoD-without any technical

justification-took affirmative steps to deprive A WS of its competitive advantage over Microsoft

and level the playing field so that DoD could justify its award to a technically inferior competitor.




                                                  98
       212.      These affirmative steps included not evaluating past perfonnance, prohibiting A WS

from leveraging its existing classified infrastructure for the JEDI Contract, and precluding A WS

from relying on                     and                                                       under

the Price Scenarios. See RFP Amend. 0005.

       213.      DoD's directed changes resulted in



       214.      But for DoD's arbitrary and capricious conduct, AWS

                                                                          and would have received

the JEDI Contract. See 5 U.S.C. § 706(2)(A).

                                          COUNT FOUR
                                 (Irrational Best Value Decision)

       215.      Plaintiff repeats and incorporates by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

       216.      DoD's best value source selection decision is fundamentally flawed because of the

numerous prejudicial errors described above and evident in DoD's evaluation materials. See 5

U.S.C. § 706(2)(A).

       217.      These prejudicial errors resulted in DoD arbitrarily concluding that -




-      218.

concluded that
                 But for DoD's erroneous and unsupported evaluation judgments, DoD would have




                                                  99
-_,                                       COUNT FIVE
                                       (Bias and Bad Faith)

       219.    Plaintiff repeats and incorporates by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

       220.    President Trump's bias against A WS improperly influenced DoD officials

responsible for the JEDI solicitation, undermined the procurement process, resulted in an

unreasonable evaluation, and unfairly deprived A WS of the JEDI award.            DoD engaged in

arbitrary, capricious, and unlawful conduct through its biased, bad-faith decision making in its

proposal evaluations and award decision. See 5 U.S.C. § 706(2)(A).

       221.    The SSA and SSAC's abilities to rationally evaluate the proposals and to award the

JEDI Contract were tainted by President Trump's repeated statements against Amazon at key

decision points during the proposal evaluation process. This Court and its predecessor have found

bad faith where there is a conspiracy to "get rid of'' an offeror; where the Government's course of

conduct was "designedly oppressive" as to a particular competitor; and where the Government's

actions are "motivated alone by malice." Although Government officials are presumed to act in

good faith, the President's public campaign against Amazon, coupled with DoD's suspect last-

minute efforts to "review" the JEDI proposal and Secretary Esper's subsequent, post-award

decision to recuse himself from that review, is sufficient to rebut that presumption.

       222.    As discussed above, DoD's ever-increasing hostility toward A WS (and favoritism

towards A WS's only remaining competitor, Microsoft) is evidenced throughout the selection

process, and in particular, in how DoD changed, reinterpreted, or ignored the original RFP

requirements, minimized, on technical and risk grounds, the factors on which AWS was


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objectively superior to make it appear as though                                      , and conjured

post-hoc requirements or simply mischaracterized AWS's offerings to make it appear as though

                                                            in certain regards.

         223.   Amazon was prejudiced by DoD's biased and bad faith actions.

                                          COUNT SIX
                        (Violation of Procurement Law and Regulation)

         224.   Plaintiff repeats and incorporates by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

         225.   DoD's evaluation of A WS's proposal and award decision violated numerous

procurement statutes and regulations, including (1) statutory and regulatory conflict of interest

provisions; (2) regulatory requirements to treat offerors impartially; and (3) regulatory

requirements to evaluate proposals exclusively against stated evaluation criteria, as discussed

below.

         226.   The Administration created a conflict of interest by demonstrating through repeated

conduct that Executive Branch employees who do not follow President Trump's directives are at

risk of losing their jobs. Secretary Mattis was but one in a series of dismissals by the Trump

Administration of individuals who refused to do the President's bidding. The fact that the decision

makers knew that their continued employment likely depended on selecting Microsoft created a

conflict. See, e.g., 18 U.S.C. § 208 (prohibiting executive branch employees, among others, from

participating personally and substantially as a Government officer in a contract in which they have

a financial interest); 5 C.F.R. § 2635.403(c) (employee of executive branch barred from

participating personally and substantially in decision in which, to his knowledge, he has a financial

interest).




                                                 101
        227.    In violation of 48 C.F.R. § 3.101-1, DoD failed to give fair consideration to AWS

and to treat it impartially.

        228.    In violation of 48 C.F.R. § 15.305, DoD applied an unstated evaluation criteria to

its review of A WS's proposal-the unstated criteria that, per President Trump's directive, A WS

not be awarded the JED I Contract.

        229.    Amazon was prejudiced by DoD's numerous violations of procurement law.

                                         COUNT SEVEN
                 (Breach of Implied Contract of Good Faith and Fair Dealing)

        230.    Plaintiff repeats and incorporates by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

        231.    As a bidder on the JEDI procurement, A WS had an implied contract of good faith

and fair dealing with DoD.

        232.    DoD breached the implied contract to consider all bids fairly and honestly by

conducting the procurement in an arbitrary, capricious, and irrational manner.

        233.    President Trump induced DoD to conduct the procurement in a manner that

breached the implied contract of good faith and fair dealing between the Government and A WS.

        234.    Amazon was prejudiced by Do D's breach of the implied contract of good faith and

fair dealing.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully asks this Court to enter judgment in its favor and

against Defendant and to:

        A.      Declare that DoD's rejection of AWS's proposal and award to Microsoft 1s

arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law;




                                                 102
         B.    Enjoin DoD and Microsoft from commencing performance on the JEDI Contract

pending reevaluation and a new award decision;

         C.    Direct DoD to reevaluate proposals or, in the alternative, reopen discussions with

Microsoft and A WS, solicit and reevaluate revised proposals, and make a new best value decision;

         D.    Award to Amazon its attorney's fees and costs in pursuing this action, and/or its

proposal costs; and

         E.    Grant such other relief as the Court deems appropriate.

Dated:        November 22, 2019              Respectfully submitted,




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                                               103
